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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re:
Chapter 7
DOWNEY FINANCIAL CORP.,
CA. No. 08-13041 (CSS)
Debtor.
Hearing Date: July 17, 2009 11:00 am
Obj. Deadline: July 10, 2009 4:00 pm

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DECLARATION OF DAN MARMALEFSKY IN SUPPORT OF INSUREDS’ MOTION
FOR DETERMINATION THAT STAY DOES NOT BAR USE OF INSURANCE
PROCEEDS OR FOR STAY RELIEF TO THE EXTENT THAT IT DOES

I, Dan Marmalefsky, declare that:

1. lam a partner of Morrison & Foerster LLP (“Morrison & Foerster”), counsel of
record for defendants Maurice L. McAlister, Daniel D. Rosenthal, Brian E. Cété, Michael B.
Abrahams, Michael D, Bozarth, Gary W. Brummett, James H. Hunter, G. Brent McQuarrie,
Lester C. Smull, Jane Wolfe and Cheryl E. Olson (together, the “Insureds”) as defendants in
litigation and related proceedings (the “Litigation’’) arising from the Insureds’ prepetition roles
with chapter 7 debtor Downey Financial Corp. (“Downey”),

2. Imake this declaration in support of the Insureds’ Motion for Determination that Stay
Does Not Bar Use of Insurance Proceeds or for Stay Relief to the Extent That It Does.

3. I know the facts stated herein of my own knowledge and, if called, could testify
competently thereto.

4. The Litigation includes McDougall, Derivatively on Behalf of Downey Financial
Corp. v. Rosenthal, et al., California Superior Court for Orange County, Lead Case No. 30-3008
00180029, Consolidated Case No. 30-2008 00087854 (the “Derivative Action”), and In re
Downey Securities Litigation, United States District Court, Central District of California, Case
No. CV-08-03262 JFW (RZx) (the “Class Action”).

5. The following is a general description of the Class Action: In May and June 2008,

shareholder class action complaints were filed in the United States District Court for the Central

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District of California against Downey and its then-chairman, chief executive officer and chief
financial officer (three of the Insureds that bring this motion). The complaints alleged that the
defendants violated federal securities laws by making false statements in Downey’s press
releases and filings with the Securities Exchange Commission. Specifically, they alleged, inter
alia, that the defendants deliberately misrepresented Downey’s underwriting and lending
practices, the quality of its loan portfolio, and the adequacy of its loan loss reserves. The district
court consolidated the class actions and appointed a Lead Plaintiff, which thereafter filed a
consolidated complaint and then a first amended consolidated complaint. The district court
granted the individual defendants’ motions to dismiss the first amended consolidated complaint
on all grounds asserted, with leave to amend. The lead plaintiff filed a second amended
consolidated complaint, and the defendants have again moved for dismissal. That motion is set
for hearing in July 2009.

6. The following is a very general description of the Derivative Action: A purported
shareholder derivative action was filed in California state court in June 2008, soon after the filing
of the initial class action in federal court. A second derivative action was filed shortly thereafter.
The complaints alleged that Downey’s current and former directors, chief executive officer and
chief financial officer (all of the Insureds that bring this motion) had breached their fiduciary
duties to Downey by causing it to file the aforementioned allegedly false press releases and SEC
filings. The court consolidated these actions and ordered the filing of a consolidated amended
complaint,. However, it stayed the obligation of the defendants to respond to the forthcoming
consolidated complaint until resolution of the motions to dismiss in the related Class Action,
which defendants had indicated they would be filing. Prior to the deadline for filing of the
consolidated complaint, on November 25, 2008, Downey filed this Case, and the Derivative
Action was automatically stayed pursuant to 11 U.S.C. § 362(a). Montague Claybrook (the
“Trustee”), the chapter 7 trustee in this Case, subsequently moved the state court to be
substituted as the real party in interest in the Derivative Action on behalf of the Downey estate.

The state court granted the motion. Since his substitution as the real party in interest, the Trustee

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to date has not lodged any consolidated complaint or taken any other action to prosecute the
derivative claims.

7. At the time the Class Action was filed and Morrison & Foerster was retained to
represent the Insureds, I obtained from Downey in-house counsel copies of Downey’s primary
and excess director and officer insurance policies. The primary policy, issued in 2007 by
National Union Fire Insurance Company of Pittsburgh, PA (‘National Union”), is Executive and
Organization Liability Insurance Policy No. 599-65-69 (the “‘Policy”). The Policy covers
Claim[s] made during the policy period July 1, 2007 to July 1, 2008 (the “Policy Period”), A
true and correct copy of the Policy (excluding handwritten comments) provided to me in our
about May of 2008is attached as Exhibit A.

8. Upon the commencement of the Derivative Action and the Class Action, the Insureds
and Downey duly and timely notified National Union of potential claims under the Policy.

9. From the time that the Litigation commenced until the date that Downey filed this
Case, Downey was advancing fees and costs to the Insureds for their defense pursuant to its
obligations to indemnify them. As of the commencement of the Case, the total fees and costs of
the Insureds that were billed and paid, billed but not paid, or unbilled was approximately
$588,000. Because this sum was within the $1 million retention under the Policy, National
Union had not begun making advances for defense fees and costs under the Policy.

10. Upon the filing of the Case, as a chapter 7 debtor Downey ceased indemnifying the
Insureds. National Union recognized its obligation to begin paying the Insureds’ defense costs
under Clause 6 of the Policy. However, it has deferred doing so until receipt of an order from
this Court stating that the payment of the Insureds’ defense costs would not violate the automatic
stay of Bankruptcy Code section 362(a)(3) or granting such stay relief as might be needed. Thus,
since the commencement of this Case, Morrison & Foerster has been defending the Insureds in
the Litigation without payment while pursuing access to the Policy proceeds for the Insureds. To
date, the Insureds have incurred over $800,000 in unpaid postpetition fees and costs with

Morrison & Foerster,

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11. The Insureds have not filed proofs of claim in the Case.
I declare under penalty of perjury that the foregoing is true and correct.

Executed this 3rd day of June, 2009 at Los Angeles, California.

/s/Dan Marmalefsky

Dan Marmalefsky

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EXHIBIT A
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yaWaG AMERICAN INTERNATIONAL COMPANIES?

Taw insurance Compeny Granite State Insurance Company
American Home Assurance Company CY iinois National Insurance Company
American Internetional South insurance Company National Union Fire Insurance Co. of Pittsburgh, Pa®
AIG Casualty Company New Hampshire Insurance Company

isach of the above being a capital stock company}

EXECUTIVE AND ORGANIZATION LIABILITY INSURANCE POLICY

NOTICE: COVERAGES A, B AND C ARE CLAIMS MADE. THE COVERAGE OF THIS POLICY IS
GENERALLY LIMITED TO LIABILITY FOR © RST MADE AGAINST THE

NOTICE: AMOUNTS INCURRED FOR LEGAL DEFENSE SHALL REDUCE THE LIMIT OF
LIABILITY AVAILABLE TO PAY JUDGMENTS OR SETTLEMENTS, AND SHALL BE APPLIED
AGAINST THE RETENTION AMOUNT.

NOTICE: THE INSURER DOES NOT ASSUME ANY DUTY TO DEFEND. THE INSURER MUST
ADVANCE DEFENSE COSTS, EXCESS OF THE APPLICABLE RETENTION, PURSUANT TO THE
FERMS HEREIN PRIOR TO THE FINAL DISPOSITION OF A CLAIM.

NOTICE: TERMS APPEARING IN BOLD FACE TYPE HAVE SPECIAL MEANING. SEE CLAUSE 2
OF THE POLICY.

POLICY NUMBER: §99-65-89 REPLACEMENT OF POLICY NUMBER: 8672-85-53
BECLARATIONS

EERE NAMED ENTITY: DOWNEY FINANCIAL CORP
{herein “Named Entity’)

3501 JAMBOREE ROAD

MAILING ADDRESS:
ss NEWPORT BEACH, CA 92660

STATE OF INCORPORATION/FORMATION: Delaware
{POLICY PERIOD: From: duly 1, 2007 To: duly 7, 2008
{12:01 A.M. standard time at the address Stated in Item 1(a)
{POLICY AGGREGATE LIMIT OF LIABILITY
“(herein “Limit of Liability”)

. , under
{including Defence Coes ot Under this policy $10,000,000
RETENTION: Not applicable to Non-Indemnifiable Loss and certain Defense Costs —
" {See Clause 6 for detalis.)
{Securities Claims: $7,000 ,000

Employment Practices

Ee
Claims: $7,000,000

al

Ali other Claims: $7,000,000

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ITEMS (continued)

8:2: CONTINUITY DATE (herein “Gontinu
{Coverages A and 8, other than
4 Outside Entity Executive

1 coverage: duly 1, 1997

ity

Coverage 9: vuly 1, 1997

ate”

a 7
SUG:

Outside Entity
Executive coverage,
neiuding Coverage C:

The date on which
the Insured Person
first served as an
Outside Entity
Executive of such
Outside Entity.

PREMIUM: $780,000

._, premium for Certified Acts o
Risk Insurance Act 2002: 3§,242 in
Any coverage provided for lasses c
defined by TRIA (TRIA Losses} may
United States under a formula asta
FRIA Losses ia excess of the insup
deductible to be based on a percen
premiums for the year preceding th

A copy of the TRIA disclosure
attached hereto.

f Terrorism Coverage under Terrorism

cluded in policy premium. |

aused by an act of terrorism as

ge partially Peimbursed by the
blished by TRIA as follows: 90% of
er deductible mandated by TRIA, the
tage of the insurer’s direct earned
é act of terrorism.

sent with the ariginel quote is

CRISISFUNDS™ |imit:
Crisis Loss: $50,000

Additional CRISISFUND=""
tor Delisting Crisis Loss: $25 ,000

z Be
erat fa tate

NAME AND

National Union F
175 Water Street
New York, AY 70038

=] Indicated in this ttem 8.

ABDRESS OF INSURER (herein “Insurer” .
ire insurance Company of Pittsburgh, Pa,

This policy is issued only by the insurance company

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POLICYHOLDER DISCLOSURE STATEMENT
UNDER
TERRORISM RISK INSURANCE ACT OF 2002

You are hereby notified that under the federal Terrorism Risk Insurance Act of
2002 (the “Act") effective November 26, 2002, you now have a right to purchase insurance
coverage for losses arising out of an Act of Terrorism, which is defined in the Act as an
act certified by the Secretary of the Treasury (i) to be an act of terrorism, {iil} to be a
. violent act or an act that Is dangerous to (A) human life; (8) property or (C) infrastructure,
(li) to have resulted in damage within the United States, or outside of the United States
in case of an air carrier or vessel or the premises of a U.S, mission and (lv) to have been
committed by an individual or individuals acting on behalf of any foreign person or
foreign interest, as part of an effort to coerce the civilian population of the United States
or to infiuence the policy or affect the conduct of the United States Government by
coercion. You should read the Act for a complete description of its coverage. The
Secretary's decision to certify or not to certify an event as an Act of Terrorism and thus
covered by this law is final and not subject to review. There is a $50 billion dolar annuai
cap on all fosses resulting from Acts of Terrorism abova which no coverage will be
Provided under this policy and under the Act unless Congress makes some other
determination.

For your Information, coverage provided by this policy for losses caused by an Act
of Terrorism may be partially reimbursed by the United States under a formula
established by the Act. Under this formula the United States pays 90% of terrorism
losses covered by this law exceeding a statutorily established deductible that must be
met by the insurer, and which deductible is based on a percentage of the insurer's direct
earned premiums for the year preceding the Act of Terrorism.

COPY OF DISCLOSURE SENT WITH ORIGINAL QUOTE

Insured Name: DOWNEY FINANCIAL CORP

Policy Number: §99-85-69
Policy Period Effective Date From: duly 7, 2007 To: duly 7, 2008

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IN WITNESS WHEREOF, the Insurer has caused this policy to be signed on the

Declarations page by its President, a Secretary and a duly authorized representative of the
Insurer.

Clwabeed x. Taek he 2 Ewbl

U SECRETARY PRESIDENT

Mh 2 ind

” AUTHORIZED REPRESENTATIVE

COUNTERSIGNATURE & DATE COUNTERSIGNED AT

MARSH USA, INE.

3737 E. CAHELBACK ROAD
SUITE 400
PHOENIX, AZ 85016

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EXECUTIVE AND ORGANIZATION LIABILITY INSURANCE POLICY

In consideration of the payment of the premium, and in rellance upon the Application and the
Statements therein, which form a part of this policy, the Insurer agrees as follows:

1. INSURING AGREEMENTS

With respect to Coverage A, B and C, solefy with respect to Claims first made against an
Insured during the Policy Period or the Discovery Period (If applicable) and reported to
the Insurer pursuant to the terms of this policy, and subject to the other terms, conditions
and limitations of this policy, this policy affords the fotlowing coverage:

GOVERAGE A: EXECUTIVE LIABILITY INSURANCE

This policy shall pay the Loss of any Insured Person arising from a Clalm made against
such Insured Person for any Wrongful Act of such insured Person, except when and to
the extent that an Organization has indemnified such Insured Person. Coverage A shall
not apply to Less arising from a Claim made against an Outside Entity Executive.

COVERAGE B: ORGANIZATION INSURANCE

(i) Organization Liability. This policy shalt pay the Loss of any Organization arising from a
Securities Claim made against such Organization for any Wrongful Act of such
Organization.

indemnification of an Insured Persom: This poticy shall pay the Lass of an Organization
arising from a Claim made against an Insured Person (including an Outside Entity
Executive) tor any Wrongful Act of such Insured Person, but only to the extent that
such Organization has indemnified such insured Person.

COVERAGE C: OUTSIDE ENTITY EXECUTIVE LIABILITY INSURANCE

This policy shall pay the Loss of any Outside Entity Executive arising from a Claim
made against such Outside Entity Executive for any Wrongful Act of such Outside Entity
Executive but only excess of any indemnification provided by an Outside Entity and any
insurance coverage afforded to an Outside Entity or its Executives applicable to such
Claim, except when and to the extent that an Organization has indemnified such Outside
Entity Executive.

COVERAGE D: CRISISFUND ®" jwSURANCE

This policy shail pay the Crisis Loss (including Delisting Crisis Loss) of an Organiza-
tion solely with respect to a Crisis {including a Delisting Crisis) occurring during the
Policy Period or the Discovery Period (if epplicable) and reported to the Insurer pursuant
to the terms of this policy, up to the amount of the respective CrisisFund5™, from first
dollar; provided that payment of any Grisis Loss under this policy shall not waive any of
the Insurer's rights under this policy or at law. This Coverage D shail apply regardless of
whether a Claim is ever made against an Insured arising trom such Crisis and, in the case
where a Claim Is made, regardiess of whether the amount |s incurred prior to or
subsequent to the making of the Claim.

DEFINITIONS

{a) “Application” means each and every signed application, any attachments te such
applications, other materials submitted therewith or Incorporated therein and any other
documents submitted in connection with the underwriting of this policy or the
underwriting of any other directors and officers {or equivalent} liability poticy issued by

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the insurer, or any of its affiliates, of which this policy Is a renewal, replacement or
which it succeeds in time, and any public documents filed by an Organization with any
federal, state, local or foreign regulatory agency (Including but not limited to the
Sacurities and Exchange Commission (SEC)).

{b} “Claim’ means:
(1) a written demand for monetary, non-monetary or injunctive rellef:

(2} a civil, criminal, administrative, raguiatory or arbitration proceeding for monetary,
non-monetary or injunctive reflef which is commenced by: (i) service of a
complaint or similar pleading; (ii) return of an indictment, information or similar
document (in the case of a criminal proceeding); or {Iti} receipt or tiling of a notice
of charges; or

(3) a civil, criminal, administrative or regulatory investigation of an Insured Person:

{i) once such Insured Person is identifled in writing by such investigating authority
aS @ person against whom a proceeding described in Definition (b)(2) may be
commenced; or

fii) in the case of an investigation by the SEC or a similar state or foreign govern-
ment authority, after the service of a subpoena upon such Insured Person.

The term “Claim” shall include any Securities Claim and any Employment Practices
Clalm.

{c) “Crisis” has the meaning as definad in Appendix B attached to this policy.
(d) “CrisisFund 5™~ means:

(1) in the case of ail Crisis Loss, other than Delisting Crisis Loss, the dollar amount
set forth In Item 7(a) of the Declarations; and

(2) in the case of Delisting Crisis Loss the dollar amount set forth in Item 7(a) of the
Declarations plus the additional dollar amount set forth in Item 7{b) of the
Declarations, combined.

“Crisis Loss” has the meaning as defined in Appendix B attached to this policy.
“Delisting Crisis Loss” means a Crisis Loss resulting solely from a Delisting Crisis
{as defined in Appendix B).

(f} “Defense Costs” means reasonable and necessary tees, costs and expenses consentod
to by the Insurer (including premiums for any appeal bond, attachment bond or similar
bond arising out of a covered judgment, but without any obligation to apply for or
furnish any such bond) resulting solely from the invastigation, adjustment, defense
and/or appeal of a Claim against an Insured, but excluding any compensation of any
Insured Person or any Employee of an Organization.

(g) “Employee” means any past, present or future employee, other than an Executive of
an Organization, whether such employee is in a supervisory, co-worker or subordinate
position or otherwise, including any full-time, part-time, seasonal and temporary
employee. ,

(h) “Employment Practices Claim” means a Glalm alleging any Employment Practices
Violation.

“Employment Practices Violation” means any actual or alleged:

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(1) wrongful dismissal, discharge or termination, either actual or constructive, of
employment:

(2) harassment (including but not limited to sexual harassment);

(3) discrimination;

(4) retallation;

(5} employment~retated misrepresentation;

(6) employment-related libel, slander, humiliation, defamation or invasion of privacy;
{7} wrongful failure to employ or promote;

(8) wrongful deprivation of career opportunity, wrongful demotion or negligent
Employee evaluation;

(3) wrongful discipline
(10) failure to grant tenure; or

(11) with respect to any of the foregoing items (1) through (10) of this definition:
negligent hiring, retention, training or supervision, infliction of emotiona} distress,
failure to provide or enforce adequate or consistent corporate policies and
procedures, or violation of an individual's civil rights, ,

but only if such act, error or omission relates to an Executive of, an Employee of or
an applicant for employment with an Organization or an Outside Entity, whether
committed directly, indirectly, intentionally or unintentionally. In addition, with respect
to any natural person customer or client, “Employment Practices Violation” shal!
mean only actual or alleged discrimination, sexual harassment or violation of an
individual's clvil rights relating to such discrimination or sexual harassment, whether
committed directly, indirectly, intentionally or unintentionally.

{i} “Executive” means any:

{1) past, present and future duly elected or appointed director, officer, trustee or
governor of a corporation, management committee member of @ joint venture and
member of the management board of a limited liability company (or equivalent
position);

{2) past, present and future person in a duly elected or appointed position in an entity
organized and operated in a Forelgn Jurisdiction that is equivalent to an executive
position listed in Definition ({)(1); or

(3) past, present and future General Counsel! and Risk Manager (or equivalent positlan}
of the Named Entity.

{k) “Foreign Jurisdiction” means any jurisdiction, other than the United States or any of
its territories or possessions.

() *Foreign Policy” means the Insurer's or any other company of American International
Group, inc.’s (AIG) standard executive managerial liability policy (inctuding all
mandatory endorsements, if any) approved by AIG to be sold within a Foreign
Jurisdiction that provides coverage substantially similar to the coverage afforded
under this policy. If more than one such policy exists, then “Foreign Policy” means the
Standard policy most recently registered in the local language of the Foreign
Jurisdiction, or if no such policy has been registered, then the policy most recently
registered in that Fereign Jurisdiction. The term “Foreign Policy” shall not Include any
partnership managerial, pension trust or professional fiabillty coverage.

(m) “Indemniflable Loss” means Loss for which an Organization has indemnified or js
permitted or required to indemnify an Insured Person pursuant to law or contract or
the chartar, bylaws, operating agreement or similar documents of an Organization.

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(n)} “Insured” means any:

(1) Insured Person; or
(2} Organization, but only with respect to a Securities Claim.

(0) “Insured Parson” means any:

(1) Executive of an Organization:
(2) Employee of an Organization; or
(3) Outside Entity Executive:

{p) “Loss” means damages, settlements, judgments (including pre/post-judgment interest
on @ covered judgment), Defense Costs and Crisis Loss; however, “Loss” (other than
Defense Costs) shall not include: (1) civil or criminal fines or penalties; (2) taxes; (3)
punitive or exemplary damages; (4) the muitiplied portion of multiplied damages; {5)
any amounts for which an insured Is not financially liable or which are without legal
recourse to an insured; and (6) matters which may be deemed uninsurable under the
law pursuant to which this policy shall be construed.

Notwithstanding the foregoing paragraph, Loss shall specifically include (subject to this
policy's other terms, conditions and limitations, including but not limited to exclusions
relating to profit or advantage, deliberate fraud or daliberate criminal acts}: (1) civil
penalties assessed against any Insured Person pursuant to Section 2(g) (2)(B) of the
Foreign Corrupt Practices Act, 15 U.S.C. § 78dd-2(g)(2){B); and (2) solefy with respect to
Securities Claims, punitive, exemplary and multiplied damages. Enforceability of this
paragraph shall be governed by such applicable jaw that most favors coverage for
such penalties and punitive, exemplary and multipie damages.

In the event of a Claim alleging that the price or consideration pald or proposed to be
pald for the acquisition or completion of the acquisition of all or substantially ali the
ownership interest in or assets of an entity Is inadequate, Loss with respect to such
Claim shal! not include any amount of any judgment or settlement representing the
amount by which such price or consideration js effectively increased; provided,
however, that this paragraph shall not apply to Defense Costs or to any
Non-Indemnifiable Loss in connection therewith.

(q) "Management Control” means: (1) owning Interests representing more than 50% of
the voting, appointment or designation power for the selection of 2 majority of: the
Board of Directors of a corporation; the management committee members of a joint
venture; or the members of the management board of a limited liability company; or
{2) having the right, pursuant to written contract or the by-laws, charter, operating
agreement or similar documents of an Organization, to elect, appoint or designate a
majority of: the Board of Directors of a corporation; the management committee of a
Joint vanture; or the management board of a limited liability company,

(r)} “No Liability” means a final judgment of no Hability obtained: (1) prior to trial, in favor
of each and every Insured named in the Claim, by reason of a motion to dismiss or a
motion for summary judgment, after the exhaustion of all appeals; or (2) after trial and
after the exhaustion of all appeals, In favor of each and every Insured named in the
Claim. In no event shall the term "No Liability" apply to a Claim made against an
insured for which a settlement has occurred.

(s) “Non-tndemnifiable Loss” means Loss for which an Organization has neither
indemnified nor is permitted or required to indemnity an Insured Person pursuant to
law or contract or the charter, bylaws, operating agreement or similar documents of an
Organization.

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(t) “Organization* means:
(1) the Named Entity;
(2) each Subsidiary; and

(3) in the event a bankruptcy Proceeding shall be instituted by or against the
foregoing entities, the resulting debtor~in-possession (or equivalent status outside
the United States), if any.

{u) “Outside Entity” means any: (1) not-for-profit entity; or (2} other entity listed as an
“Outside Entity” in an endorsement attached to this policy.

{v) "Outside Entity Executive’ means any: (1) Executive of an Organization who is or
was acting at the specific written request or direction of an Organization as an
Executive of an Outside Entity; or (2) any other person listed as an Outside Entity
Executive in an endorsement attached to this policy.

(w) “Policy Period” means the period of time from the inception date shown in item 2 of
the Declarations to the earlier of the expiration date shown in such item 2 or the
effective date of cancellation of this policy.

(x) “Pollutants” means, but is not Ilmited to, any solid, liquid, gaseous or thermal irritant
or contaminant, including smoke, vapor, soot, fumes, acids, alkalis, chemicals and
Waste. “Waste” Includes, but Is not limited to, materials to be recycled, reconditioned
or reclaimed.

(y) "Securities Claim” means a Clalm, other than an administrative or regulatory
proceeding against, or investigation of an Organization, made against any Insured:

(1) alleging a violation of any federai, State, local or foreign regulation, rule or statute
reguiating securities (including but not limited to the Purchase or sale or offer or
solicitation of an offer to purchase or seil securities) which js:

(a) brought by any person or entity alleging, arising out of, based upon or
atiributable to the purchase or sale or offer or solicitation of an offer to
purchase or sell any securitles of an Organization: cr

(b} brought by a security holder of an Organization with respect to such security
holder's interest in securities of such Organization; or

(2) brought derivatively on the behalf of an Organization by 2 security holder of such
Organization.

Notwithstanding the foregoing, the term “Securities Claim’ shall include an
administrative or regulatory proceeding against an Organization, but only if and oniy
during the time that such proceeding is also commenced and continuously maintained
against an Insured Person.

(2) “Subsidiary” means: (1) any for-profit entity that is not formed as a partnership of
which the Named Entity has Management Control (‘Controfled Entity”) on or before
the inception of the Policy Period either directly or indirectly through one or more
other Controlled Entities; and (2) any not-for~profit entity under section 507(c)(3) of
the Internal Revenue Code of 1986 (as amended) sponsored exclusively by an
Organization.

(aa) “Wrongful Act” means:

(1) any actual or alleged breach of duty, neglect, error, misstatement, misleading
Statement, omission or act or any actual or aileged Employment Practices
Violation:

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. EXCLUSIONS

(i) with respect to any Executive of an Organization, by such Executive in his or
her capacity as such or any matter claimed against such Executive solely by
reason of his or her status as such;

(ii) with respect to any Employee of an Organization, by such Employee in his or
her capacity as such, but solely in regard to any: (a) Securities Glaim; or (b)}
other Claim so long as such other Claim fs also made and continuously
maintained against an Executive of an Organization; or

(ii} with respect to any Outside Entity Executive, by such Outside Entity
Executive in his or her capacity as such or any matter claimed against such
Outside Entity Executive solely by reason of his or her stetus as such; or

(2} with respect to an Organization, any actual or alleged breach of duty, neglect,
error, misstatement, misleading statament, omission or act by such Organization,
but solely in regard to a Securities Claim.

3. WORLDWIDE EXTENSION

Where legally permissible, this policy shall apply to any Claim made against any Insured
anywhere in the wortd.

in regard to Claims brought and maintained solely in a Foreign Jurisdiction against an
Organization fermed and Operating In such Foreign Jurisdiction or an Insured Person
thereof for Wrongful Acts committed In such Foreign Jurisdiction, the Insurer shal! apply
to such Claim(s) those terms and conditions {and related provisions) of the Foreign Policy
registered with the appropriate regulatory body in such Forelgn Jurisdiction that are more
favorable to such Insured than the terms and conditions of this policy. However, this
paragraph shall apply only to Clauses 1-4, 9-13, 15, 16, 18, 20 and 21 of this policy and
the comparable provisions of the Foreign Policy. In addition, this Paragraph shal! not apply
to the non-renewal or claims made and reported provisions of any policy. .

All premiums, limits, retentions, Loss and other amounts under this Policy are expressed
and payable In the currency of the United States of America. if judgment is rendered,
settlement is denominated or other elements of Loss are stated or incurred in a currency
other than United States of America dollars, payment of covered Less due under this
policy (subject to the terms, conditions and limitations of this policy) will be made either
in such other currency (at the option of the Insurer and if agreeable to tha Named Entity)
or, In United States of America dollars, at the rate of exchange published in The Wall
Street Journal on the date the Insurer's cbligation to pay such Loss is established (or if
not published on such data the next publication date of The Wall Streat Journal).

The Insurer shall not be liable to make any payment for Loss in connection with any
Claim made against an Insured:

‘(a) arising out of, based upon or attributable to the gaining In fact of any profit or

advantage to which the Insured was not legally entitled;

{b} arising out of, based Upon oF attributable to payments to an Insured of any remu-
neration without the previous approval of the Stockholders or members of an
Organization, which payment without such Previous approval shall be held to have
been illegal;

{c} arising out of, based upon or attributable to the committing in fact of any deliberate
criminal or deliberate fraudulent act by the Insured:

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alleging, arising out of, based upon or attributable to the facts alleged, or to the same
or related Wrongful Acts alleged or contained in any Claim which has been reported,
or in any circumstances of which notice has been given, under any policy of which
this policy is a renewal or replacement or which it may succeed in time;

alleging, arising out of, based upon or attributable to, as of the Continulty Date, any
pending or prior: (1) litigation; or (2) administrative or regulatory proceeding or
investigation of which an Insured had notice, or alleging or derived from the same or
essentially the same facts as alleged in such pending or prior litigatlon or administra-
tlve or regulatory proceeding or Investigation;

with respect to any Outside Entity Executive, for any Wrongful Act occurring prior to
the Continuity Date if any Insured, as of such Continuity Date, knew or could have
reasonably foreseen that such Wrongful Act could lead to a Claim under this policy:

alleging, arising out of, based upon or attributable to any actual or alleged act or
omission of an Insured Persen serving in his or her capacity as an Executive or an
Employee of any entity that is not an Organization or an Outside Entity, or by reason
of his or her status as an Executive or an Employee of such other entity;

for bodily injury (other than emotional distress or mental anguish}, sickness, disease, or
death of any person, or damage to or destruction of any tangible property, including
the loss of use thereof:

which is brought by or on behalf of an Organization or any Insured Person, other
than an Employee of an Organization; or which is brought by any security holder or
member of an Organization, whether directly or derivatively, unless such security
holder’s or member's Ctaim is instigated and continued totally Independent of, and
totally without the solicitation of, or assistance of, or active participation of, or
Intervention of, any Executive of an Organization or any Organization; provided,
however, this exclusion shall not apply to:

(1} any Claim brought by an Insured Person in the form of a cross-claim or third-
Party claim for contribution or indemnity which is part of, and results directly from,
@ Claim that is covered by this policy;

(2) any Employment Practices Claim brought by an Insured Person, other than an
Insured Person who Is or was @ member of the Board of Directors (or equivalent
governing body) of an Organization;

(3) in any bankruptcy proceeding by or against an Organization, any Clalm brought by
the examiner, trustee, receiver, liquidator or rehabititator (or any assignee thereof}
of such Organization, if any;

(4) any Claim brought by any past Executive of an Organization who has not served
aS a duly elected or appointed director, officer, trustee, governor, management
committee member, mamber of the management board, General Counsel or Risk
Manager (or equivalent position) of or consultant for an Organization for at jeast
four (4) years prior to such Claim baing first made against any person; or

(5) any Claim brought by an Executive of an Organization formed and operating in a
Foreign Jurisdiction against such Organization or any Executive thereof, provided
that such Claim Is brought and maintained outside the United States, Canada or
any other common law country (including any territories thereof):

for any Wrongful Act arising out of the Insured Person serving as an Executive of an
Outside Entity if such Claim is brought by the Outside Entity or by any Executive
thereof; or which ts brought by any Security holder of the Outside Entity, whether

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directly or derivatively, unless such security holder's Claim is instigated and continued
totally independent of, and totaily without the solicitation of, or assistance of, or active
participation of, or intervention of the Outside Entity, any Executive of the Outside
Entity or an Organization or any Executive of an Organization;

(k) aileging, arising out of, based upon or attributable to, directly or indirectly: (i} the
actual, allaged or threatened discharge, dispersal, release or escape of Pollutants; or
{i} any direction or request to test for, monitor,- clean up, remove, contain, treat,
Getoxify or neutralize Pollutants, (including but not limited to a Claim alleging damage
to an Organization or its securities holders); provided, however, that this exclusion
shalt not apply to Non-Indemnifiable Loss, other than Non-Indemnifiable Loss
constituting Cleanup Costs;

“Cleanup Costs” means expenses (including but not limited to tegat and professional
fees) incurred in testing for, monitoring, cleaning up, removing, containing, treating,
neutralizing, detoxifying or assessing the effects of Pollutants,

(l} for emotional distress of any person, or for Injury from libel, slander, defamation or
disparagement, or for Injury from a violation of a Person's right of privacy; provided,
however, this exclusion shall not appiy to an Employment Practices Claim: and

(m)} for violatlon(s) of any of the responsibilities, obligations or duties imposed upon
fiduciaries by the Employee Retirement Income Security Act of 1974 or amendments
thereto, or any similar provisions of any state, local or foreign statutory or common
law.

For the purpose of determining the applicability of the foragoing Exclusions A(a) through
4(c) and Exclusion 4(f}: (1) the facts pertaining to and knowledge possessed by any
Insured shall not be imputed to any other Insured Person; and (2) only facts pertaining to
and knowledge possessed by any past, Present or future chairman of the board, president,
chief executive officer, chief operating officer, chief financial officer or General Counsel (or
equivalent position) of an Organization shail be imputed to an Organization.

This Clause 4, Exclusions, shall not be applicable to Crisis Loss.
5, LIMIT OF LIABILITY (FOR ALL LOSS~INCLUDING DEFENSE COSTS)

The Limit of Liability stated in Item 3 of the Declarations is the aggregate limit of the
Insurer's fiability for all Loss, under Coverages A, B, C and D combined, arising out of all
Glaims first made against each and every insured, and ail Crisis Loss occurring, during
the Policy Period and the Discovery Period (if applicable), The Limit of Liability for the
Discovery Period and the CrisisFund=™' shal! be part of, and not in addition to, the Limit
of Liability for the Policy Period, Further, a Claim which is made subsequent to the Policy
Period or Discovery Period {if applicable) which pursuant to Clause 7(b) or 7(c) is
considered made during the Policy Period or Discovery Period shall also be subject to the
one aggregate Limit of Liability stated in Item 3 of the Declarations. The ilmit of the
Insurer's liability for Crisis Loss and Delisting Crisis Loss arising from ail Crises
occurring during the Policy Period, in the aggregate, shall be the amounts set forth as the
CrisisFund 5™, The CrisisFundS™ shell be the aggregate limit of the insurer's liabillty for
all Crises under this policy regardiess of the number of Crises occurring during the Policy
Perlod.

Defense Costs are not payable by the Insurer in addition to the Limit of Liability. Defense Costs are
part of Loss and as such are subject to the Limit of Liability for Loss.

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6. RETENTION CLAUSE

For each Claim, the Insurer shall onty be Ilabia for the amount of Loss arising from a
Claim which Is in excess of the applicable Retention amounts stated in Jtems 4a}, 4(b} and
4(c) of the Declarations, such Retention amounts to be borne by an Organization and/or
the Insured Person and remain uninsured, with regard to all Loss other than
Non-Indemnifiable Loss. The Retention amount specified in:

(I) Item 4(a) applies to Defense Costs that arise out of a Securities Claim;
(ii) Item 4{b) applies to Loss that arises out of an Employment Practices Claim; and

(iii) ttem 4(c) applies to Loss that arises out of any Claim other than a Securities Claim
or an Employment Practices Claim.

A single Retention amount shall apply to Loss arising from all Claims alleging the same
Wrongtul Act or related Wrongful Acts.

in the event a Claim triggers mare than one of the Retention amounts stated in Items A(a),

4(b) and 4(c) of the Declarations, then, as to that Claim, the highest of such Retention

amounts shall be deemed the Retention amount applicable to Loss (to which a Retention
kK: is applicable pursuant to the terms of this policy) arising from such Claim.

6 \’ Further, with respect to all Claims, other than Employment Practices Claims, no Retention
p a! shall apply to Loss arising from such Claims and the insurer shall reimburse Defense
AN Costs otherwise covered hereunder and paid by the Insured, in the event of: {t) a
( determination of No Liability of each and every Insured against whom the same Claim or
we? related Ciaims have been made; or (2) a dismissal or a silpulation to dismiss each and
hu every Insured against whom the same Claim or related Claims have beer made without
prejudice and without the payment of any consideration by or on behalf of any Insured.
However, in the case of (2) above, such reimbursement shall occur 90 days after the date
of dismissal or stipulation as long as such Claim is not brought (or any other Claim
which is subject to the same single retention by virtue of Clause 6 is not pending or |
brought) again within that time, and further Subject to an undertaking by an Organization

in a form acceptable to the Insurer that such reimbursement shall be paid back by such
Organization to the Insurer In the event the Claim (or any other Glaim which is subject to

the same single retention by virtue of Clause 6} is brought after such 90-day period.

No Retention amount Is applicable te Crisis Loss or Non-Indemnifiable Loss.

7. NOTICE/CLAIM REPORTING PROVISIONS

Notice hereunder shall be given in writing to the Insurer named in Item 8 of the
Declarations at the address indicated in Item 8 of the Declarations. If mailed, the date of
mailing shall constitute the date that such notice was given and proof of mailing shall be
sufficient proof of notice.

{a) An Organization or an insured shall, as acondition precedent to the obligations of the
Insurer under this policy, give written notice to the Insurer of a Claim made against
an Insured or a Grisis as soon as practicable: {) after the Named Entity’s Risk
Manager or General Counsel (or equivalant position) first becomes aware of the Claim;
or (i}} the Crisis commences, but in all events no later than elther:

(1) the end of the Policy Period or the Discovery Period (if applicable); or

(2) within 30 days after the end of the Policy Period or the Discovery Period {if
applicable), as long as such Claim was first made against an Insured within the
final 30 days of the Policy Period or the Discovery Period {if applicable).

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(b) If written notice of a Claim has been given to the Insurer pursuant to Clause 7(a}
above, then a Claim which is subsequently made against an Insured and reported to
the Insurer alleging, arlsing out of, based upon or attributable to the facts alleged In
the Claim for which such notice has been given, or alleging any Wrongful Act which
is the same as or related to any Wrongful Act alleged in the Claim of which such
notice has been given, shall be considered related to the first Claim and made et the
time such notice was given,

(c) Hf during the Polley Period or during the Discovery Period (if applicable) an
Organization or an Insured shall become aware of any circumstances which may
reasonably be expected to give rise to a Claim being made against an Insured and
shali give written notice to the Insurer of the circumstances, the Wrongful Act
allegations anticipated and the reasons for anticipating such a Claim, with full
Particulars as to dates, persons and entities involved, then a Claim which is
subsequently made against such Insured and reported to the insurer alleging, arising
out of, based upon or attributable to such elrcumstances or alleging any Wrongful Act
which is the same as or related to any Wrongful Act alleged or contained in such
circumstances, shall be considered made at the time such notice of such
circumstances was given.

& DEFENSE COSTS, SETTLEMENTS, JUDGMENTS (INCLUDING THE ADVANCEMENT OF
DEFENSE COSTS)

Under Coverages A, B and C of this policy, except as hereinafter stated, the Insurer shali
advance, excess of any applicable retention amount, covered Defense Costs no later than
ninety (80) days after the receipt by the Insurer of such defense bills. Such advance
payments by the Insurer shall be repaid to the Insurer by each and every Insured or
Organization, severally according to their respective interests, in the event and to the
extent that any such Insured or Organization shall not be entitled under this pollcy to
payment of such Lass. .

The insurer does not, however, under this policy, assume any duty to defend. The Insureds shall
daiend and contest any Claim made against them. The Insureds shall not admit or assume any liability,
enter into any settlement agreement, stipulate to any judgment, or incur any Defense Costs without the
prior written consent of the insurer. Only those settlements, Stipulated judgments and Defense Costs
which have been consented to by the Insurer shall be recoverable as Loss under the terms of this
policy. The Insurer's consent shall not be unreasonably withheld, provided that the Insurer shall be
entitled to effectively associate in the defense, the prosecution and the negotiation of any settlement of
any Claim that involves or appears reasonably likely to involve the Insurer.

The Insurer shall have the right to effectively associate with each and avery Organization
and Insured Person in the defense and prosecution of any Claim that involves, or appears
reasonably tikely to Involve, the Insurer, including, but not limited to, negotiating a
settlement. Each and every Organization and Insured Person shall give the Insurer full i
cooperation and such Information as it may reasonably require.

Notwithstanding any of the foregoing, If all Insured defendants are able to dispose of ail
Claims which are subject to one retention amount {inclusive of Defense Costs) for an
amount not exceeding any applicable retention amount, then the Insurer's consent shall
not be required for such disposition.

No Organization is covered in any respect under Coverage A or Coverage ©. An i
Organization is covered, subject to the policy's terms, conditions and /imitations only with
respect to: {1} its indemnification of its insured Persons under Coverage Béii) as respects
a Claim against such Insured Persons; and (2) under Coverage B{i) for a Securities Claim.
Accordingly, the Insurer has no obligation under this policy for covered Defense Costs

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incurred by, judgments agalnst or settlements by an Organization arising out of a Claim
made against an Organization other than a covered Securities Claim, or any obligation to
Pay Loss arising out of any legal liability that an Organization has to a claimant, except as
respects a covered Securities Claim against. such Organization.

With respect to: (i) Defense Costs jointly Incurred by; (i) any Jolnt settlement entered into
by; and/or (iii) any judgment of joint and several liability aginst any Organization and any
Insured in connection with any Claim other than a Securities Claim, any such Organiza-
tion and any such Insured and the Insurer agree to use their best efforts to determine a
fair and proper allocation of the amounts as between any such Organization, any such
Insured and the insurer, taking into account the relative legal and financial exposures, and
the relative benefits obtained by any such insured and any such Organization. In the
event that a determination as to the amount of Defense Costs to be advanced under the
potlcy cannot be agreed to, then the insurer shall advance Defense Costs excess of any
applicable retention amount which the Insurer States to be fair and proper until a different
amount shall be agreed upon or determined pursuant to the provisions of this policy and
applicable law.

This Clause & shall not be applicable to Crisis Loss. Nevertheless the insurer does not,
under this policy, assume any duty to defend.

8, PRE-AUTHORIZED SECURITIES DEFENSE ATTORNEYS

Affixed as Appendix A hereto and made a part of this poficy is a list of Panel Counsel law
firms ("Panel Counsel Firms’). The list Provides the Insureds with a choice of law firms
from which a selection of legal counsel shall be made to conduct the defense of any
Securities Claim made against such insureds.

The insureds shall select a Panel Counsel Firm to defend the Securities Claim made
against the Insureds in the jurisdiction in which the Securities Claim is brought. In the
event the Claim is brought in a jurisdiction not included on the Jist, the insureds shail
select a Panel Counsel Firm in the listed jurisdiction which is the nearest geographic
jurisdiction to either where the Securities Claim Is brought or where the corporate
headquarters of the Named Entity is located. In such instance the Insureds also may, with
the express prior written consent of the Insurer, which consent shall not be unreasonably
withheld, select a non-Panel Counsel Firm in the jurisdiction in which the Securities
Claim is brought to function as “local counsel" on the Claim to assist the Panel Counsel
Firm which will function as "lead counsel" in conducting the defense of the Securities
Giaim.

Counsel Firm different from that selected by another Insured defendant If such selection
is required due to an actual conflict of interest or is otherwise reasonably justifiable. The
list of Panel Counsel Firms may be amended from time to time by the Insurer. However,
no firm shall be removed from the specific list attached to this policy during the Policy
Period, without the consent of the Named Entity.

10. DISCOVERY CLAUSE

Except as indicated below, if the Named Entity shall cancel or the Named Entity or the
insurer shall refuse to renew this policy, the Named Entity shall have the right te a period
of either one, two or three years following the effective date of such cancellation or
nonrenewal (the “Discovery Period”) upon payment of the respective “Additional Premium
Amount" described below In which to give to the Insurer written notice Pursuant to
Clause 7(a) and 7(c) of the policy of: (I) Claims first made against an Insured; and {il)
circumstances of which an Organization or an Insured shail be come aware, in either

Ke With the express prior written consent of the Insurer, an Insured may select a Panel
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case during said Discovery Period and solely with respect to a Wrongful Act occurring
prior to the end of the Policy Period and otherwise covered by this policy.

The Additional Premium Amount for: (7) one year shall be no more than 75% of the Full
Annual Premium; (2) two years shail be no more than 150% of the Full Annual Premium:
and (3) three years shail be no more than 225% of the Full Annual Premium. As used
hersin, “Full Annual Premium” means the premium level in effect immediately prior to the

and of the Policy Period.

Notwithstanding the first paragraph of Clause 5, if the Named Entity shall cancel or the
Insurer or the Named Entity shall refuse to renew this policy, then the Named Entity
shall also have the right, to requestan offer from the insurer of a Discovery Period (with
respect to Wrongful Acts occurring prior to the end of the Policy Period} with an
aggregate limit of liability applicable to Claims made against the Insured during such
Discovery Period which is in addition to, and not part of, the applicable Limit of Liability
set forth in Item 3 of the Declarations. The Insurer shall quote such a Discovery Period
pursuant to such terms, conditions, exclusions and additional premium as it deems
appropriate in its sole and absolute discretion.

in the event of a Transaction as defined in Clause 12(a), the Named Entity shall have the
right to request an offer from the Insurer of a Discovery Period (with respect to Wrongful
Acts occurring prior to the effective time of the Transaction), The Insurer shall offer such
Discovery Period pursuant to such terms, conditions, exclusions and additional premium
as the Insurer may reasonably decide. In the event of a Transaction, the right to a
Discovery Period shail not otherwise exist except as indicated in this paragraph.

The Discovery Period is not cancelabla and the additional premium charged shall be fully
earned at Inception, This Clause 10 shall not apply to any cancellation resulting from non—
Payment of premium. The rights contained in this Clause 70 shall terminate uniess written
‘Notice of election of a Discovery Period together with any additional premium due is
received by the Insurer no fater than thirty (80) subsequent to the effective date of the
cancellation, nonrenewal or Transaction.

11. CANCELLATION CLAUSE

This policy may be canceled by the Named Entity at any time only by mailing written
prior notice to the Insurer or by surrender of this policy to the Insurer or its authorized
agent. This policy may only be canceled by or on behalf of the Insurer in the event of
non-payment of premium by the Named Entity. in the event of non-payment of premium
by the Named Entity, the Insurer may cancel this policy by delivering to the Named
Entity or by mailing to the Named Entity, by registered, certified, or other first class mail,
at the Named Entity’s address as shown in Item (a) of the Declarations, written notice
Stating when, not less than 15 days thereafter, the cancellation shall be effective. The
mailing of such notice as aforesaid shall be sufficient proof of notice. The Policy Period
terminates at the date and hour Specified in such notice, or at the date and time of
surrender. The Insurer shall have the right to the premium amount for the portion of the
Policy Period during which the policy was in effect.

If this policy shall be canceled by the Named Entity, the Insurer shail retain the
customary short rate proportion of the premium hereln. If the period of limitation relating
to the giving of notice as set forth in this Clause 11 is also set forth in any law controlling
the construction thereof, then such period shall be deemed to be amended so as to be
equal to the minimum period of limitation set forth in the controlling law.

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(a) if during the Policy Period:

’ (1) the Named Entity shall consolidate with, merge into, or sell all or substantially all
of its assets to any other person or entity or group of persons or entities acting in
concert; or

(2) any person or entity or group of persons or entities acting in concert shall acquire
Management Control of the Named Entity;

{any of such events being a “Transaction”’}, then this policy shall continues in full force
and effect as to Wrongful Acts occurring prior to the effective time of the
Transaction, but there shall be no coverage afforded by any provision of this policy
for any actual or alleged Wrongful Act occurring after the effective time of the
Transaction. This policy may not be canceled after the effective time of the
Transaction and the entire premium for this policy shail be deemed earned as of such
time. The Named Entity shall aiso have the right to an offer by the Insurer of a
Discovery Periad described in the fourth paragraph of Clause 10 of this policy.

(b) Subsidiary Additions: “Subsidiary” also means any for-profit entity that is not formed as
a partnership of which the Named Entity first had Management Centro! during the
Policy Period, whether directly or indirectly through one or more other Subsidiaries,
and:

{T) whose assets total less than 25% of the total consolidated assets of each and
every Organization as of the inception date of this policy; or

{2} whose assets total 25% or more than the total consolidated assets of each and i
every Organization as of the inception date of this policy, but such entity shall be
a “Subsidiary” only: (i) for a period of sixty (60) days from the date the Named
Entity first had Management Control of such entity; or (ii) until the end of the
Policy Period, which ever ends or occurs first (hereinafter “Auto-Subsidiary
Period");

provided that the Named Entity or any other Insured shall report such Subsidiary to
the Insurer, in writing, prior to the end of the Policy Periad.

The insurer shall extend coverage for any Subsidiary described in 12(b)(2) above, and
any Insured Person thereof, beyond its respective Auto-Subsidiary Period if during
such Auto-Subsidiary Period, the Named Entity shall have provided the insurer with |
full particulars of the new Subsidiary and agreed to any additional premium and
amendment of the provisions of this policy required by the Ingurer relating to such
Subsidiary. Further, coverage as shall be afforded to any Subsidiary and any Insured
Person thereof Is conditioned upon the Named Entity paying when due any additional
premium required by the insurer relating to such Subsidiary.

(c) Insured Persons and Outside Entity Executives: Coverage will automatically apply to ail
new Insured Persons of and Outside Entity Executives of an Organization following
the inception date of this policy.

({d) Other Organizational Changes: In ail events, coverage as is afforded under this policy with
respect to a Claim made against any Organization and/or any Insured Person thereof
shall only apply for Wrongful Acts committed or allegedly committed after the
effective time such Organization became an Organization and such Insured Person
became an Insured Person, and prior to the effective time that such Organization
ceases to be an Organization or such Insured Person ceases to be an insured
Person. An Organization ceases to be an Organization when the Named Entity no
longer maintains Management Control of an Organization either directly or indirectly
through one or more of Its Subsidiaries.

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13. SUBROGATION

In the event of any payment under this policy, the Insurer shal? be subrogated to the
extant of such payment to ail of each and avery Organization's and Insured’s rights of
recovery thereof, and each such Organization and tnsured shail execute all papers
required and shall do everything that may be necessary to secure such rights Including the
execution of any and all documents necessary to enable the insurer effectively to bring
suit in the name of each such Organization and each such insured. in no event, however,
shall the Insurer exercise Its rights of subrogation against an Insured under this policy
unless such Insured has been convicted of a deliberate criminal act, or been determined
to have in fact committed a deliberate fraudulent act, or been determined to have in fact
obtained any profit or advantage to which such Insured was not legaily entitled.

OTHER INSURANCE AND INDEMNIFICATION

Such Insurance as is provided by this policy shall apply only as excess over any other
valid and collectible insurance, unless such other insurance is written only as specific
excess insurance over the Limit of Liability provided by this policy. This policy shall
specifically be excess of any other valid and collectible insurance pursuant to which any
other insurer has a duty to defend a Claim for which this policy may be obligated to pay
Loss.

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in the event of a Claim made against an Qutside Entity Executive, coverage as is afforded
by this policy, whether under Coverage B{ii) or Coverage C, shall be specifically excess of:
(1) any indemnification provided by an Outside Entity; and (2) any insurance coverage
afforded to an Outside Entity or its Executives applicable to such Claim. Further, In the
avent such other Outside Entity insurance is provided by the Insurer or any other
company of American International Group, Inc. (AIG) (or would be provided but for the
application of the retention amount, exhaustion of the limit of lability or failure to submit
a notice of a claim as required) then the Insurer's maximum aggregate Limit of Liability
for all Loss under this policy, as raspacts any such Claim, shall be reduced by the amount
of the limit of liability {as set forth on the Declarations) of the other AIG insurance
provided to such Outside Entity.

15. NOTICE AND AUTHORITY

ft is agreed that the Named Entity shall act on behalf of its Subsidiaries and each and
every Insured with respect to the giving of notice of Claim, the giving and receiving of
notice of cancellation, the payment of premiums and the receiving of any return premiums
that may become due under th is policy, the receipt and acceptance of any endorsements
issued to form a part of this policy and the exercising or declining of any right to a
Discovery Period.

16. ASSIGNMENT

This policy and any and all rights hereunder are not assignable without the written
consent of the Insurer.

T?. ALTERNATIVE DISPUTE RESOLUTION PROCESS

a it is hereby understood and agreed that all disputes or differences which may arise under

yl or in connection with this policy, whether arising before or after termination of this policy,

qe including any determination of the amount of Loss, shali be submitted to the alternative
dispute resolution (“ADR”) process set forth in this clause.

x"

Elther the Insurer or an Insured may elect the type of ADR process discussed below;
provided, however, that such Insured shall have the right to reject the Insurer's chaice of
the type of ADR process at any time prior to its commencement, In which case such
Insured’s choice of ADR process shali control.

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The Insurer and each and every Insured agrees that there shalf be two choices of ADR
process: (1) non-binding mediation administered by the American Arbitration Association,
in which the Insurer and any such Insured shail try in good faith to settle the dispute by
mediation under or In accordance with its then-prevailing Commercial Mediation Rules: or
(2) arbitration submitted to the American Arbitration Association in accordance with Its
then-prevailing Commercial Arbitration Rules, in which the arbitration pane! shall consist of
three disinterested individuals. in either mediation or arbitration, the mediator or arbitrators
shall have knowledge of the legal, corporate management, or insurance issues relevant to
the matters in dispute. The mediator or arbitrators shall also give due consideration to the
general principles of the faw of the state where the Named Entity is incorporated in the
construction or interpretation of the provisions of this policy. in the event of arbitration,
the decision of the arbitrators shall be final and binding and provided to both parties, and
the arbitrators’ award shail not Include attorneys fees or other costs. In the event of
mediation, either party shall have the right to commence a judicial proceeding; provided,
however, that no such judicial proceeding shall be commenced until the mediation shail
have been terminated and at least 120 days shall have elapsed from the date of the
termination of the mediation. In all events, each party shall share equally the expenses of
the ADR process.

Either choice of ADR process may be commenced in New York, New York Atlanta,
Georgia; Chicago, fllinols; Denver, Colorado; or in the state indicated in Item t{a)} of the
Declarations as the mailing address for the Named Entity. The Named Entity shall act on
behalf of each and every Insured in deciding to proceed with an ADR process under this
clause.

18. ACTION AGAINST INSURER

Except as provided in Clause 17 of the policy, no action shall lie against the Insurer
unless, as a condition precedent thereto, there shall have been full compliance with all of
the terms of this policy, or until the amount of the Insured’s obligation to pay shall have
been finally determined either by judgment against such insured after actual trial or by
written agreement of the Insured, the claimant and the Insurer.

Any person or organization or the legal representative thereof who has secured such
judgment or written agreement shail thereafter be entitled to recover under this policy to
the extent of the insurance afforded by this policy. No person or organization shall have
any right under this policy to join the Insurer as a party to any action against any Insured
or Organization to determine the insured’s liability, nor shall the Insurer ba impleaded
by any Insured Person, their spouse, any Organization or any legal representative of the
foregoing.

19. BANKRUPTCY

Bankruptcy or insolvency of any Organization or any Insured Person shall not relieve the
Insurer of any of its obligations hereunder,

It is further understood and agreed that the coverage provided under this policy Is
intended to protect and benefit the Insured Persons. Further, if a liquidation or
reorganization proceeding Is commenced by the Named Entity and/or any other
Organization (whether voluntarily or involuntarily) under Title 11 of the United States Code
(as amended), or any similar state, local or foreign law {collectively "Bankruptcy Law’)
then, in regard to @ covered Claim under this poficy, the Insureds hereby:

{a} waive and reiease any automatic stay or injunction to the extent it may apply in such
proceeding to the proceeds of this policy under such Bankruptey Law: and

(b) agree not to oppose or object to any efforts by the Insurer or any Insured to obtain
relief from any stay or injunction applicable to the proceads of this policy as a result
of the commencement of such liquidation or reorganization proceeding.

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20. SPOUSAL AND LEGAL REPRESENTATIVE EXTENSION

If Claim against an Insured Person includes a Claim against: (i) the lawful spouse of
such Insured Person; or (Il) a property interest of such spouse, and such Claim arises
from any actual or alleged Wrongful Act of such Insured Person, this policy shall cover
Loss arising trom the Claim made against that spouse or the property of that spouse to
the extent that such Loss does not arise from a Claim for any actual or alleged act, error
or omission of such spouse. This policy shail cover Loss arising from a Claim made
against the estates, heirs, or lega! representatives of any deceased Insured Person, and
tha Jegal representatives of any Insured Person, in the svent of incompetency, insolvency
or bankruptcy, who was an Insured Person at the time the Wrongful Acts upon which
such Ciaim is based were committed.

21. RENEWAL APPLICATION PROCEDURE

if this policy is a renewal of, a replacement of, or succeeds in time any policy {providing
similar caverage) issued by the Insurer, or any of Its affiliates, then in granting coverage
under this policy it is agreed that the Insurer has relied upon the Application as being
accurate and complete in underwriting this policy. This Clause 21 together with the
Application constitute the complete Application that is the basis of this policy and form a
part hereof, and is material to the risk assumed by the Insurer. No written renewal
application form need be completed by the Named Entity in order to receive a renewal
quote from the Insurer, although the Insurer reserves the right to require specific
information upon renewal.

22. ORDER OF PAYMENTS

In the event of Loss arising from @ covered Claim for which payment is due under the
provisions of this policy, then the Insurer shall in all events:

(a) first, pay Loss for which coverage is provided under Coverage A and Coverage C of
this polley; then

(b) only after payment of Loss has been made pursuant to Clause 22(a) above, with
respect to whatever remaining amount of the Limit of Liability is available after such
payment, at the written request of the chief executive officer of the Named Entity,
elther pay or withhold payment of such other Loss for which coverage is provided
under Coverage Bili) of this policy; and then

(c) only after payment of Loss has been made pursuant to Clause 22(a) and Clause 22(b)
above, with respect to whatever remaining amount of the Limit of Liability is available
after such payment, at the written request of the chief executive officer of the Named
Entity, elther pay or withhold payment of such other Loss for which coverage is
provided under Coverages B(i} and D of this policy.

in the event the Insurer withholds payment pursuant to Clause 22(b) and/or Clause 22(c)
above, then the insurer shail at such time and in such menner as shall be set forth in
written instructions of the chief executive officer of the Named Entity remit such payment
to an Organization or directly to or on behalf of an Insured Person.

The bankruptcy or insolvency of any Organization or any Insured Persen shall not relieve
the Insurer of any of its obligations to prioritize payment of covered Loss under this
policy pursuant to this Clause 22.

23. HEADINGS

The descriptions in the headings of this policy are solely for convenience, and form no
part of the terms and conditions of coverage.

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Weiner / John A. Borek

One New York Piaza, New York, NY 10004-1980 (212)859-8000

Fulbright & Jaworski, LLP
Robert D. Qwen / Daniel R, Murdock (212)318-3385 / Philio M, Smith (212)318-3329

666 Fifth Avenue, New York, NY 10103-3198 (212)318-3000

Gibson, Dunn & Crutcher, LLP
Wesiey G. Howell / Robert F. Serio / Mitchell A. Karlan (212)351-3827

200 Park Avenue, New York, NY 10166-0193 (212)351-4000

Greenberg Traurig, LLP

Brian $. Cousin {212)801-9200 / Geoffrey Berman / Keren Bitar | William Briendet / Michael Burrows |
Adam Cole / Roger Kaplan / Robert A. Horowitz / Ronald Lefton / Jeffrey Mann | Alan Mansteld | Stephen
Saxi / Jefrey Sklaroff / Toby Soli / Kenneth A, Lapatine

200 Park Avenue, New York, NY 10022 (212)801~9200

Katten Muchin Rosenman, LLP

David H. Kistenbroker / Robart W. Gottlieb / Joel W. Sternman

575 Madison Avenue, New York, NY 10022-2585 (212)940-8800
Kaye Scholer, LLP

Fredric W. Yerman (212)836-8663 / Phillip A, Geraci (212)836-8659
425 Park Avenue, New York, NY 10022 (212)836-8663

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APPENDIX A _
SECURITIES CLAIMS PANEL COUNSEL LIST

Kirkland & Ellis
Yosef J. Aiemer

Citicorp Center, 153 East 53rd Street, New York, NY 10022-4675 (212)446-4800

Kramer Levin Naftalis & Frankel, LLP
Gary P. Naftalis { Alan R. Friedman / Robert N. Holtzman / Jonathan M. Wagner

1177 Avenue of the Americas, New York, NY 10036 (212)715-9100

Mayer, Brown Rowe & Maw
Richard A. Spehr / Steven Wolowitz / Joseph DeSimone
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Milbank, Tweed, Hadley & McCloy
Michael L. Hirschfeld / Scott A. Edelman

1 Chase Manhattan Plaza, New York, NY 10005 (212}530-5149

Morrison & Foerster, LLP
Anthony M. Radice (212)468-8020 / Jack C. Auspitz (212)468-8048

1280 Avenue of the Americas, New York, NY 10104 (212)468-8000

Paul, Hastings, Janofsky & Walker, LLP
Barry Sher ! James D. Wareham

Park Avenue Tower, 75 E. 55th Street, New York, NY 10022 (212}318-6000

Paul, Weiss, Rifkind, Wharton & Garrisan

Daniel J. Beller { Martin Flumenbaum / Claudia Hammerman / Brad S. Karp / Daniel J. Kramer / Mark F.
Pomeraniz / Richard A. Rosen

3285 Avenue of the Americas, New York, NY 10019-6064 (212)373-3000

Proskauer Rose, LLP
Gregg M. Mashberg

1585 Broadway, New York, NY 10036-8299 (212)969-3000

Schulte Roth & Zabel, LLP
Betty Santangelo / Howard O. Godnick / irwin J. Sugarman / Robert M, Abrahams
919 Third Avenue, New York, NY 10022 (212)758~2900

Shearman & Sterling

Jeremy G. Epstein (212)848-4169 / Steven F. Molo (212)848-7456 / Brian H. Polavoy
(212)848-4703 { Stuart J. Baskin (212)848-4974

599 Lexington Avenue, New York, NY 10022 (212)848-8000

Sidley Austin Brown & Wood, LLP
Theodore N. Miller (273)896-6646 / Barry W. Rashkover | Steven M. Bierman / Robert Pietrzak

787 Seventh Avenue, New York, NY 10019 (212)839-5300

Simpson Thacher & Bartlett
Bruce D. Angiolilio / Michael J. Chepiga / Paul C, Curnin / Roy L. Reardon

425 Lexington Avenue, New York, NY 10017 (212)455-2000

Skadden, Arps, Slate, Meagher & Flom, LLP and Affiliates
donathan J. Lerner
Four Times Square, New York, NY 10036 (212)735-2550

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— APPENDIX A =
SECURITIES CLAIMS PANEL COUNSEL LIST

Stroock & Stroock & Lavan, LLP
Laurence Greenwald / Melvin A, Brosterman / Robert Lewin
180 Maiden Lane, New York, NY 10038 (212)806-5400

Sullivan & Cromwell
D. Stuart Meiklejohn / Gandolfo V. DiBlasi / John L. Hardiman / John L. Warden / Philip L. Graham, dr. /
Richard H. Klapper

125 Broad Street, New York, NY 10004-2498 (212)558-4000

Wachtell, Lipton, Rosen & Katz
Paul Vizearronda (212)403-1208 | Ted Mirvis

91 W, 52nd Street, 29th Floor, New York, NY 10019 (212)403-1000

Weil, Gotshal & Manges, LLP
Greg A. Danilow | Irvin H. Warren | Joseph Allerhand / Jonathan D. Polkes (212)310-8881
767 Fifth Avenue, New York, NY 10153 (212)310-8000

Willkie Farr & Gallagher
Michael R. Young / Richard L. Posen / Stephen W. Greiner

787 Seventh Avenue, New York, NY 10019-6099 (212)728-8000

WilmerHale
Peter Vigeland / Robert B. McCaw

520 Madison Ave., New York, NY 10022 (212)230-8860
OHIO

Jones, Day, Reavis & Pogue
John M. Newman, dr. / dohn W. Edwards, I

North Point, 901 Lakeside Avenue, Cleveland, OH 44114 (216)586-3939
OREGON

Davis Wright Tremaine
John F. MeGrory

2300 First Interstate Tower, 1300 S.W. Fifth Avenue, Portland, OR 97201 (503)241-2300

Foster Pepper & Shefelman
Tim J. Filer / Reger D. Mellen

101 S.W. Main Street, 15th Floer, Portland, OR 97204-3223 {503)221-0807

Lane Powell Spears Lubersky, LLP
Milo Petranovich / Robert E. Maloney

601 S.W. Second Avenue, Suite 2700, Portland, OR 97204 (503)778-2100

Stoel Rives, LLP
Lois O. Rosenbaum

900 SW 5th Avenue, Sulte 2600, Portiand, OR $7204 (503)224-3380
PENNSYLVANIA

Blank Rome, LLP

lan M. Comisky { Alan J. Hoffman

One Logan Square, Philadelphia, PA 19103 (215)569-5500

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“APPENDIX A
SECURITIES CLAIMS PANEL COUNSEL LIST

Buchanan Ingersoll & Rooney, PC
John R. Leathers
One Oxford Centre, 20th Floor, 301 Grant Street, Pittsburgh, PA 15219-8800 {412)562-8800

Dechert, LLP
Jetirey G, Weil (215)994-2538 | Seymour Kurland (215)994-2235

4000 Bell Atlantic Tower, 1717 Arch Street, Phifadelphia, PA 18103-2793 (215)994-4000

Pepper Hamilton, LLP .

Barbara W, Mather | Jon A. Baughman / Laurence 2. Shiekman (215)981-4347 / M. Duncan Grant /
Robert L, Hickok (215)981-4583 / Thomas E. Zemaitis

3090 Two Logan Square, Eighteenth and Arch Streets, Philadelphia, PA 19163-2799

{2 15)98 11-4000

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Jerome J, Shestack / Mf. Norman Goldberger / Mark L. Alderman
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Akin, Gump, Strauss, Hauer & Feld, LLP
Paul R. Bessette (512)499-6250 / Edward §. Koppman / Orrin L. Harrison, Ill

1700 Pacific Avenue, Suite 4100, Dailas, TX 75201 (2714)969-2800

Paul R. Bessette (612)499-6250
1111 Louisiana Street, 44th Floor, Houston, TX 77002-5200 {713)220-5800

Beirne, Maynard & Parsons, LLP
Jefirey A. Parsons (713)960-7302
1300 Post Oak Boulevard, Suite 2500, Houston, TX 77056-3000 {713)623-0887

Carrington, Coleman, Sloman & Blumenthal, LLP
Fletcher L. Yarbrough / Bruce W. Calling / Tim Gavin

901 Main Street, Suite 5500, Dallas, TX 75202 (214)855-3000

Fulbright & Jaworski, LLP
Frank G. Jones / Robert S. Harrell | Gerard G. Pecht

1301 McKinney, Suite 5100, Houston, TX 77010 (713)651-5151

Karl G, Dial / Michael A. Swartzondruber
2200 Ross Avenue, Suite 2800, Dallas, TX 75201 (214)855-8000

King & Spalding
Mark K. Glasser
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Locke Liddell & Sapp, LLP
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2200 Ross Avenue, Suite 2200, Dallas, TX 75201-6776 (214)740-8000

Charlas A. Parker (713)226-1469
3400 JPMorgan Chase Tower, 600 Travis, Houston, TX 77002 (743)226~1200
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SECURITIES CLAIMS PANEL COUNSEL LIST

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Timothy A. MeCormick
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Timothy R, MeCormick
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Timothy R. McCormick
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dohn Scalia (703)749-1300

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Latham & Watkins
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McGuireWoods, LLP

Stephen D. Busch (804)775-4978

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Stephen D. Busch (804)775-4378 | Charles Mcintyre
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WilmerHale

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=— APPENDDCA =
SECURITIES CLAIMS PANEL COUNSEL LIST

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Lyle Roberts { Trevor Chaplick (703)734-3100

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(703)734-3 100

WASHINGTON

Davis Wright Tremaine
Stephen M. Rummage / Ladd B. Leavens
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DLA Piper Rudnick Gray Cary US, LLP
Steliman Keehnel

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Foster Pepper & Shetelman
Tim J. Filer / Roger D. Mellem

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Heller, Ehrman, White & McAuliffe
George E. Greer

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75013 (2/00)

DEFINITIONS

(a)

"Crisis" means:

(4)
(2)

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a Delisting Crisis; or

one of the following events which, in the good falth opinion of the Chief
Financial Officer of an Organization did cause or fs reasonably likely to
cause a “Materia! Effect on an Organization's Common Stock Price”:

(1)

(ii)

dil)

(iv)

(v)

(vi)

{vil

Negative earning or sales announcement

The public announcement of an Organization's past or future
earnings or sales, which is substantially iess favorable than any of
the following: (f) an Organization’s prior year’s earnings or sales
for the same period; {ii} an Organization’s prior public statements
or projections regarding earnings or sales for such period; or {ili)
an outside securities analyst's published estimate of an Organ-
ization’s earnings or sales.

Loss of a patent, ttademark or copyright or major customer or contract

The public announcement of an unforeseen loss of: {i) an
Organization's Intellectual property rights for a patent, trademark
or copyright, other than by expiration; (li) a major customer or
cllent of an Organization; or (iH) @ major contract with aa
Organization. ,

Product recall or delay

The public announcement of the recail of a major product of an
Organization or the unforeseen delay in the production of a major
product of an Organization.

Mass tort

The public announcement or accusation that an Organization has
caused the bodily Injury, sickness, disease, death or emotional
distress of a group of persons, or damage to or destruction of any
tangible group of properties, Including the loss of use thereof.

Employee layoffs or loss of Key executive officer{s)

The public announcement of layoffs of Employees of an Organiza-
tion. The death or resignation of one or more key Executives of
the Named Entity.

Elimination or suspension of dividend

The public announcement of the alimination or suspension of a
regularly scheduled dividend previous!y being paid by an
Organization.

Write-off of assets

The public announcement that an Organization intends to write off
a material amount of its assets.
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{b}

{c)

(d}

(viii) Debt restructuring or default

The public announcement that an Organization has defaulted or
intends to default on its debt or Intends to engage in a debt
restructuring.

(ix) Bankruptcy

The public announcement that an Organization intends to file for
bankruptcy protection or that a third party is seeking to file for
involuntary bankruptcy on behalf of an Organization: or that
bankruptcy proceedings are imminent, whether voluntary or
involuntary.

(} Governmental or regulatory litigation

The public announcement of the commencement or threat of
commencement of litigation or governmental or regulatory
proceadings against an Organization.

{xl} Unsolicited takeover bid

An unsolicited written offer or bid by any person or entity other
than an insured or any affiliate of any Insured, whether publicly
announced or privately made to an Executive of an Organization,
to effect a Transaction (as defined in Clause 12(a) of the policy) of
the Named Entity.

A Crisis shall first commence when en Organization or any of its Executives
shall first become aware of such Crisis. A Crisis shall conclude once a Crisis
Firm advises an Organization that such Crisis no longer exists or when the
CrisisFund>” hes been exhausted.

"Crisis Firm" means any public relations firm, crisis management firm or law
firm as listed in section Ill of this Appendix B. Any “Crisis Firm” may be hired
by an Organization to perform Crisis Services without further approval by the
Insurer.

“Crisis Loss” means the followlng amounts incurred during the pendency of a
Crisis for which an Organization is legally fiable:

{1} the reasonable and necessary fees and expenses Incurred by a Crisis
Firm in the performance of Crisis Services for an Organization;

(2) the reasonable and necessary fees and expenses incurred In the printing,
advertising or mailing of materials; and

{3) travel costs Incurred by Executives, employees or agents of an
Organization or of the Crisis Firm, arising from or in connection with
the Crisis.

"Crisis Services” means those services performed by a Crisis Firm in advising
an Insured or any Employee of an Organization on minimizing potential harm
to an Organization from the Crisis (including but not limited to maintaining
and restoring investor confidence In an Organization), and solely with respect
te Delisting Crisis Loss, any legal services performed by a Crisis Firm in
responding to a Delisting Crisis.

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(e) “Delisting Crisis’ means written notice to an Organization that such
Organization's securities will be or have been delisted from an Exchange.

{f) “Exchange” means NASDAQ, the American Stock Exchange, the New York
Stock Exchange and the Singapore Exchange.

(9) “Material Effect on an Organization's Common Stock Price” means, within a
period of 24 hours, that the price per share of an Organization's common
stock shall decrease by the greater of $2.00, or 15% net of the percentage
change in the Standard & Poor’s Composite Index,

I. EXCLUSIONS

The term Crisis shall not Include any event relating to:

()}) «any Glaim which has been reported, or any circumstances of which
notice has been given, under any policy of which this policy is a renewal
or replacement or which It may succeed In time:

(ii) the actual, alleged or threatanad discharge, dispersal, release or escape
of Pollutants; or any direction or request to test for, monitor, clean up,
remove, contain, treat, detoxify or neutralize Pellutants: provided,
however, the foregoing shail not apply If the policy contains any
provision or endorsement modifying or deleting, in part or In whole,
exclusion (k) of the policy; or

(lli} the hazardous properties of nuclear materials; provided, however, the
foregoing shall not apply to any Crisis arising from the ownership of,
Operation of, construction of, management of. Planning of, maintenance
of or investment in any nuclear faclilty.

il. PRE-APPROVED GRISIS FIRMS

(a) For all Crisis {including a Delisting Crisig, Crisis Firm(s) means any public
relations firm listed in (1) - (7} below:

(1) ABERNATHY MACGREGOR (4} KEKST AND COMPANY
SCANLON 437 Madison Avenue
501 Madison Avenue New York, NY 10022
New York, NY 10022 (242) 593-2655
(212) 371-5999 Contact: Andrew Baer
Contact: James T. M®°Gregor
(2) BURSON~MARSTELLER {5) ROBINSON LERER & MONTGOMERY
230 Park Avenue South 75 Rockefeller Plaza, 6 “ floor
New York, NY 10003-1566 New York, NY 10019
(212) 614-5236 {212) 484-7721
Contact: Michael Claes Contact: Michael Gross
{3) PATTON BOGGS, LLP (6} SARD VERSINNEN & CO.
2550 M Street, N.W. §30 Third Avenue
Washington, D.C., 20037 New York, NY 10017
(202) 457-6000 (212) 687-B080
Contact: Thomas H. Boggs Contact: Paui Verbinnen or George Sard

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(7) SITRICK & COMPANY
2029 Century Park East
Sulte 1750
Los Angeles, CA 90067
(310) 788-2850
Contact: Michael Sitrick

(6) Solely for Delisting Crisis, “Crisis Firm(s)” shall also inciude any Panel
Counsel Firm (as defined in Clause 3) approved to handle Securities Claims,

75013 (2/00) COPY 4
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ENDORSEMENTS 7

This endorsement, effective 72:07 an duly 1, 2007 forms a part of
policy number §99--85-69
issued to GOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

CALIFORNIA CANCELLATION/NONRENEWAL
ENDORSEMENT

Wherever used in this endorsement: 1) “we*, “us”, “our’, and “Insurer” mean the insurance
company which issued this policy; and 2) "you", “your”, “Named insured”, “First Named
Insured”, and “Insured“ mean the Named Corporation, Named Organization, Named
Sponsor, Named Entity, Named Insured, or Insured stated in the Declarations page; and 3)
“Other Insured(s)” means ail other persons or entities afforded coverage under the policy.

in consideration of the premium charged, it Is hereby understood and agreed that the
Cancellation Clause is replaced with the following:

CANCELLATION CLAUSE

The First Named Insured shown in the Declarations may cancel the policy by mailing or
delivering to the Insurer advance written notice of cancellation.

If the policy has been in effect for more than sixty (60) days or if it is a renewal, effective
immediately, the Insurer may not cance! the policy unless such cancellation is based on
one or more of the foliowing reasons:

1. Nonpayment of premium, Including payment due on a prior policy issued by the
Insurer and due during the current policy term covering the same risks.

2. A judgement by a court or an administrative tribunal that the Named Insured has
violated any jaw of this state or of the United States having as one of its necessary
elements an act which materially increases any of the risks insured against,

3. Discovery of fraud or material misreprasentetion by either of the following:

a The Insured or Other Insured(s) or his or her representative in obtaining the
insurance; or

b. The Named Insurad or his or her representative In pursuing a claim under the
policy.

4, Discovery of willful or grossly negligent acts or omissions, or of any violations of
state laws or regulations establishing safety standards, by the named Insured or
Other Insured(s} or a representative of same, which materially increase any of the
tisks insured against.

5. Failure by the named Insured or Other Insured(s) or a representative of the same to
implement reasonable loss contro! requirements which were agreed to by the
Insured as a condition of policy issuance or which were conditions precedent to the
use by the Insurer of a particular rate or rating plan If the failure materially
increases any of the risks insured against.

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6. A determination by the commissioner that the ioss of, or changes in, an insurer's
reinsurance covering all or part of the risk would threaten the financial integrity or
solvency of the Insurer.

?. A determination by the commissioner that a continuation of the policy coverage
could place the Insurer in violation of the laws of this State or the state of its
domicile or that the continuation of coverage would threaten the solvency of the
Insurer,

é. A change by the named Insured or Other Insured(s) or a representative of same in
the activities or property of the commercial or industrial enterprise which results in
4 material added risk, a materially increased risk or a materially changed risk, unless
the added, increased, or changed risk is included in the policy.

Notice of cancellation shall be delivered or malied to the producer of record and the
Named Insured at least thirty (30) days prior to the effective date of cancellation. Where
cancellation is for nonpayment of premium or fraud, notice shall be given no Jess than
ten (10) days prior to the effective date of cancellation.

NONRENEWAL

If the insurer decides not to renew the policy, the Insurer shall mall or deliver to the
producer of record and the named Insured notice of nonrenewal at least sixty (60) days
but no more than 120 days prior to the and of the policy period. The notice shall contain
the reason for nonrenewal of the policy.

RENEWAL

if a policy has been in effect for more than sixty (60) days or if the policy is a renawai,
effective Immediately no increase in premium, reduction in limits, or change In the
conditions of coverage shall be effective during the policy period uniess based upon one
Of the following reasons:

1. Discovery of willful or grossly negligent acts or omissions, or of any violations of
state laws or regulations establishing safety standards by the Named Insured or
Other Insured(s) which materieily increase any of the risks or hazards insured
against.

2, Fallure by the named insured or Other Insured{s) to implement reasonable loss
control requirements which were agreed to by the Insured as a condition of policy
Issuance or which were conditions precedent to the use by the Insurer of a
Particular rate or rating plan, if the faflure materially Increases any of the risks
insured against.

3. A determination by the commissioner that toss of or changes in an insurer's
reinsurance covering all or part of the risk covered by the pollcy would thraaten the
tinanciat integrity or solvency of the Insurer unless the change in the terms or
conditions or rate upon which the premium is based fs permitted.

4, A change by the named Insured or Other Insured(s) in the activities or property of
the commercial or industriat enterprise which results In & materially added risk, a
materially increased risk, or materially changed risk, unless the added, increased, or
changed risk is included in the policy.

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ENDORSEMENT 1+ —eontnued}

Written notice shall be maited or delivered to the Named.Insured and the producer of

record at least thirty (30) days prior to the effective date of any increase, reduction or
change.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED,

Mh 2 ini

AUTHORIZED REPRESENTATIVE

END 007
COPY -3-
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ENDORSEMENT# 2

This endorsement, effective 12707 am duly 1, 2007 forms a part of
policy number §99-85-69
issued to QOKWEY FINANCIAL CORP

by Mational Union Fire Insurance Company of Pittsburgh, Pa.
CALIFORNIA PUNITIVE DAMAGES LAW ENDORSEMENT
In consideration of the premium charged, it is hereby understood and agreed that any

coverage provided under this policy for punitive, exemplary or multiple damages is
subject to any limitation of such coverage provided by California law, if applicable.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

Mh 2 wl

AUTHORIZED REPRESENTATIVE

END 002
90143 (12/05) COPY Page 1 of 1
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— ENDORSEMENT #—3

This endorsement, effective 72:07 em duly 1, 2007 forms a part of
policy number $99-65~G9
issued to DOWWEY FINANCIAL CORP

by

National Union Fire Insurance Company of Pittsburgh, Pa.

“NO LIABILITY” PROVISION DELETED
(SECURITIES CLAIM RETENTION APPLIES TO ALL LOSS
ARISING OUT OF A SECURITIES CLAIM)

In consideration of the premium charged, it is hereby understood and agreed that the
policy is hereby amended as follows:

The Definition of and all provisions referring to “No Liability” are hereby deleted in
their entirety.

Clause G RETENTION CLAUSE is deleted In its entirety and replaced by the
following:

(1)

(2)

(3)

RETENTION GLAUSE

For each Claim, the insurer shall only be liable for the amount of Loss
arising from a Claim which Is in excess of the applicabig Retention amounts
stated in Items 4(a), 4(b) and 4(c) of the Declarations, such Retention amounts
to be borne by an Organization and/or the Insured Person and remain
uninsured, with regard to ail Loss other than Non-Indemnifiable Loss. The
Retention amount specified In:

{i} — ftem 4{a) applies to Loss that arises out of a Securities Claim;

(il) lem 4(b) applies to Loss that arises out of an Employment Practices
Claim; and

(iil) Item 4{c) applies to Loss that arises out of any Claim other than a
Securities Claim or an Empicyment Practices Claim.

A single Retention amount shall apply to Loss arising from all Claims alleging
the same Wrongful Act or related Wrongful Acts.

In the event a Claim triggers more than one of the Retention amounts stated
in items 4(a), 4(b} and 4(c) of the Declarations, then, as to that Claim, the
highest of such Retention amounts shall be deemed the Retention amount
applicable to Loss (to which a Retention Is applicable pursuant to the terms of

this policy) arising from such Claim.
No Retention amount is applicable to Crisis Less or Non-indemnifiahle Loss.

Item 4 of the Declarations is heraby deloted in its entirety and replaced by the
following:

4

RETENTION: Not applicable to Non-Indemnifiable Loss

4(a)

Securities Claims: $7 000 ,000 A(b} Employment $7 000,000

A(c)

Practices Claims:
All other Claims: $7,000,000

All, OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED,

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AUTHORIZED REPRESENTATIVE
END 003

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ENDORSEMENT -¢

This endorsement, effective 72:07 ant duly 1, 2007 forms a part of
policy number $99-§6-69
issued to DOWWEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT

In consideration of the premium charged, It is hereby understood and agreed that the
Insurer shall not be Hable to make any payment for Less in connection with any Claim
made against any Insured:

A. alleging, arising out of, based upon, attributable to, or in any way involving, directly
or indirectly, the Hazardous Properties of Nuclear Material, including but not
fimited to:

(1)

(2)

(3)

(4)

{2)

Nuclear Material located at eny Nuclear Facility owned by, or operated by or
on behalf of, the Organization, or discharged or dispersed therefrom; or

Nuclear Material contained in spent fuel or waste which was or is at any time
possessed, handied, used, processed, stored, transported or disposed of by or
on behalf of the Organization; or

the furnishing by an Insured or the Organization of services, materials, parts
or equipment in connection with the planning, construction, maintenance,
operation or use of any Nuclear Facility; or

Ciaims for damage or other injury to the Organization or Its shareholders
which allege, arise from, are based upon, are attributed to or In any way
invoive, directly or Indirectly, the Hazardous Properties of Nuclear Material.

which is insured under a nuclear energy tiability policy issued by Nuclear
Energy Liability Insurance Association, Mutual Atomic Energy Liability
underwriters, or Nuclear Insurance Assoctation of Canada, or would be insured
under any such policy but for its termination or exhaustion of its Emit of
liability; os,

with respect to which: (a) any person or organization Is requirad to maintain
financial protection pursuant to the Atomie Energy Act of 1954, or any law
amendatory thereof, or (b} the Insured is, or had this policy not been Issued
would be, entitled to indemnity from the United States of America, or any
agency thereof, under any agreement entered Into by the United States of
America, or any agency thereof, with any person or organization.

As used In this endorsement:

“Hazardous Properties” include radioactive, toxic or explosive properties.

“Nuclear facility” means:

{a}
{b)

any nuclear reactor;
any equipment or device designed or used for

(1) separating the isotopes of uranium or plutonium,

END 004

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(2) processing or utilizing spent fuel, or

(3) handling, processing or packaging wastes;

{c) any equipment or device used for the processing, fabricating or alloying of
special nuclear material if at any time the total amount of such material In the
custody of the Insured at the premises where such equipment or device is
located consists of or contains more than 26 grams of plutonium or uranium
233 or any combination thereof, or more than 250 grams of uranium 235; and

{d) any structure, basin, excavation, premises or place prepared or used for the
Storage or disposal of waste, and includes the site on which any of the
foregoing is focated, all operations conducted on such site and all premises
used for such operations.

“Nuclear Material” means source material, special nuclear material or byproduct material,

“Nuclear Reactor” means any apparatus designed or used to sustain nuclear fission in a
self-supporting chain reaction or to contain a critical mass of fissionable material.

“Source Material," “Special Nuclear Material,” and “Byproduct Material” have the
meanings given them in the Atomic Energy Act of 1964 or in any law amendatory thereof.

"Spent Fuel“ means any fuel element or fual component, solid or liquid, which has been
used or exposed to radiation in a nuclear reactor.

“Waste” means any waste material (1} containing by product material and (2) resulting

fram the operation by any person or orgenization of any Nuclear Facility included within
the definition of nuclear facility under paragraph (a) or ib) thereof.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 004
83550 (11/03) COPY Page 2 of 2
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ENDORSENMENT# —o

This endorsement, effective 12:07 am duly 1, 2007 forms a part of
policy number 99-65-69
issued to BOWWEY FIWAWCIAL CORP

by National Union Fire Insurance Company of Pi tisburgh, Pa.
COMMISSIONS EXCLUSION

In consideration of the premium charged, it is hereby understood and agreed that the
Insurer shall not be liable to make any payment for Loss in connection with any Claim
made against any Insured alleging, arising out of. based Upon, Or attributable to:

{i} payments, commissions, gratutties, benefits or any other favors to or for the
benefit of any full or part-time domestic or foreign government or armed
services officials, agents, representatives, employees or any members of their
family or any entity with which they are affiliated: or

(i) payments, commissions, gratuities, benefits or any other favors to or for the
benefit of any full or part-time Officials, directors, agents, partners,
representatives, principal shareholders, or ewners or employees, or “Affiliates”
{as that term is defined In The Securities Exchange Act of 1934, including any
officers, directors, agents, owners, partners, representatives, principal
shareholders or employees of such Affiliates) of any customers of the
Organization or any members of thelr family or any entity with which they are
affilfated; or

(ili) political contributions, whether domestic or foreign.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 005
83524 (11/03) COPY Page 7 of 1
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This endorsement, effective 72:07 am duly 1, 2007 forms a part of
policy number 4599-55-69

issued to DOMWEY FINANCIAL CORP

by Wational Union Fire Insurance Company of Pittsburgh, Pa.

OUTSIDE ENTITY ENDORSEMENT

in consideration of the premium charged, it is hereby understood and agreed that each of
the following entities shall be deemed an “Outside Entity":

OUTSIDE ENTITY

1) any not-for-profit organization
x

x
ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED,

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END 006
83553 (11/03) COPY Page 1 of 7
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This endersement, effective 72:07 am July 1, 2007 forms a part of
policy number §99-85-69
issued to DOWWEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.
PROFESSIONAL ERRORS & OMISSIONS EXCLUSION
(With Securities Claim Carve-Out)

In consideration of the premium charged, it is hereby understood and agreed that the
Insurer shall not be llable to make any payment for Loss in connection with any Claim
made against any Insured alleging, arising out of, based upon or attributable to the
Organization's or any Insured’s performance of or fallure to perform professional
services for others, or any act(s), error(s) or omission(s) relating thereto.

Notwithstanding the foregoing, it is further understood and agreed that this endorsement
shall not apply te any Securities Claim.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 007
83569 (11/03) COPY Page 1 of 1
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ENDORSEMENT# 3

This endorsement, effective 12:07 am daly 1, 2007 forms a part of
policy number §99-65-69
Issued to DOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

CAPTIVE INSURANCE COMPANY EXCLUSION

In consideration of the premium charged, it is hereby understood and agreed that the
Insurer shall not be liable to make any Payments for Loss in connection with any Claim
made against any Insured alleging, arising out of. based upon, attributable to the
ownership, management, maintenance, cperation and/or control by the Organization of
any captive insurance company or entity including but not limited to any Claim alleging
the insolvency or bankruptcy of an Organization es a result of such ownership, operation,
management and control.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 008
83516 (17/03) COPY Page 1 of 1
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ENDORSEMENT# 9

This endorsement, effective 12:07 am July 1, 2007 forms a part of
policy number $99~&85~69
issued to DOWWEY FINANCIAL CORP

by

National Union Fire Insurance Company af Pittsburgh, Fa.

CONDUCT EXCLUSIONS (a), (b) AND (c) AMENDED - FINAL DETERMINATION

In consideration of the premium charged, it Is hereby understood and agreed that
Exclusions (a), (b) and (c) are deleted in their entirety and replaced by tha following:

(a)

(b)

{c)

arising out of, based upon or attributable to the gaining of any profit or
advantage to which a judgment or final adjudication or an alternative dispute
resolution proceeding adverse to the tnsured establishes the Insured was not
jJegally entitled:

arising out of, basad upon or attributable to payments to an Insured of any
remuneration without the previous approval of the stockholders or members
of an Organization, if a judgment or final adjudication or an alternative
dispute resolution proceeding adverse to the Insured establishes that such
payment without such previous approval was illegal;

arising out of, based upon or attributable to the committing of any deliberate
criminal or deliberate fraudulent act by the Insured if a Judgment or final
adjudication or an aitemative dispute resolution proceeding adverse to the
Insured(s) establishes that such deliberate criminal or deliberate fraudulent act
was committed;

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 009

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ry ENDORSEMENT# 70

This endorsement, effective 12:07 am duly 1, 2007 forms a part of
policy number 4599-68-69
issued to DOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

ALTERNATIVE DISPUTE RESOLUTION PROCESS CLAUSE AMENDATORY ENDORSEMENT

In consideration of the premium charged, it is hereby understood and agreed that Clause
17. ALTERNATIVE DISPUTE RESOLUTION PROCESS is deleted in its entirety and replaced
with the following:

17. ALTERNATIVE DISPUTE RESOLUTION PROCESS

tis hereby understood and agreed that all disputes or differences which may
arise under or in connection with this policy, whether arising before or after
termination of this policy, including any determination of the amount of Loss,
shall be submitted to the alternative dispute resolution (* ADR") process set forth
in this clause.

Either the Insurer or an Insured may elect the type of ADR process discussed
below; provided, however, that such Insured shail have the right to reject the
Insurer's choice of the type of ADR process at any time prior to its
commencement, in which case such Insured’s choice of ADR process shall
contral,

The insurer and each and every Insured agrees that there shall be two choices of
ADR process; (1) non-binding mediation administered by the American Arbitration
Association, in which the Insurer and any such Insured shall try in good faith to
Settle the dispute by mediation under or in accordance with its then-prevailing
Commercial Mediation Rules; or (2) arbitration submitted to the American
Arbitration Association in accordance with its then-prevailing Cornmerciat
Arbitration Rules, in which the arbitration pane! shall consist of three
disinterested individuals. In either mediation or arbitration, the mediator or
arbitrators shall have knowledge of the legal, corporate management, or
insurance issues relevant to the matters in dispute. The mediator or arbitrators
shall also give dus consideration to the general principles of the law of the state
where the Named Entity is incorporated in the construction or interpretation of
the provisions of this policy. In the event of arbitration, the decision of the
arbitrators shall be final and binding and provided to both parties, and the
arbitrators’ award shall not include attorneys fees or other costs. In the event of
mediation, either party shail have the right to commence a judicial proceeding;
provided, however, that no such judiciat proceeding shall be commenced until the
mediation shall have been terminated and at least ninety (90) days shall have
slapsed from the date of the termination of the mediation. in all events, each
party shall share equally the expenses of the ADR process.

COPY END 10
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ENDORSEMENT# 70 (Co “nued)

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This endorsement, effective 72:07 am daly 1, 2007 forms a part of
policy number §99-§5-69
Issued to DOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pi ttsburgh, Pa.
Either choice of ADR process may be commenced in New York, New York:
Atianta, Georgia; Chicago, Illincis; Denver, Colorado: or in the state indicated in
Item 1(a) of the Declarations as the mailing address for the Named Entity. The

Named Entity shall act on behalf of each and avery Insured in deciding to
proceed with an ADR process under this clause.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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COPY END 10
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ENDORSEMENTS 17
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This endorsement, effective 12:07 am duly 1, 2007 forms a part of
policy number 5499-65-69

issue

by

d to BOWWEY FINANCIAL CORP

Wational Union Fire Insurance Company of Pittsburgh, Pa.

SEVERABILITY OF THE APPLICATION ENDORSEMENT

(FULL INDIVIDUAL SEVERABILITY; TOP 6 ORGANIZATION POSITIONS IMPUTED TO

in co

ORGANIZATION: AND NON-RESCINDABLE A SIDE COVER)

nsideration of the premium charged, t is hereby understood and agreed that the

following Clause is added to the policy at the end thereof:

SEVERABILITY

in granting coverage under this policy, it is agreed that the Insurer has ralied upon
the statements, warrantles and representations contained In the Application as
belng accurate and complete. All such statements, warranties and representations
are the basis for this policy and are to be considered as incorporated into this
policy.

The Insureds agree that In the event that the particulars and statements contained
In the Application are not accurate and complete and materially affect either the
acceptance of the risk or the hazard assumad by the Insurer under the policy, then
the coverage provided by this Policy shall ba deemed void ab initio solely with
respect ta any of the following Insureds:

(1) solely with respect to Less other than Non-Indemnifiable Loss, any Insured
Person who knew as of the inception date of the Policy Period the facts that
were not accuretely and completely disclosed in the Application,

(2} an Organization, under Clause 1. Insuring Agreements, COVERAGE Biii}, to the
extent it indemnifies any Insured Person referenced in (1), above, and

{3} an Organization, under Clause 1. Insuring Agreement, COVERAGE Bil), if any
past or present chairman of the board, president, chlef executive officer, chief
operating officer, chief financial officer or General Counsel (or any equivalent
position) of an Organization knew, as of the inception date of the Policy
Period, the facts that were not accurately and completely disclosed in the
Application,

whether or not such Insured Person knew that such facts were not accurately and
completely disciosed in the Application,

Solely with respect to any Non-Indemnifiable Loss of any Insured Person, under
no circumstances shail the coverage provided by this Policy be deemed vold,
whether by rescission or otherwise, but such coverage will be subject to all other
terms, conditions and exclusions of the Policy.

It is understood and agreed that this endorsement supersedes any inconsistent
language contained In the Application.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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AUTHORIZED REPRESENTATIVE

END 0171
COPY Page 1 of 1
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This endorsement, effective 12:07 am duly 1, 2007 forms a part of
policy number §99-55-&8

issued to DONWEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

SUBSIDIARY - AUTO-SUBSIDIARY PERCENTAGE DECREASED
In consideration of the premium charged, it fs hereby understood and agreed that in

Clause 12. ORGANIZATIONAL CHANGES, subparagraphs (5)(1} and (b)(2) are hereby
amended by decreasing the automatic Subsidiary threshold from26 %to 16 %.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 012
83591 (11/03) COPY Page 1 of 1
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ENDORSEMENT# 73

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This endorsement, effective 12:07 am July 1, 2007 forms a part of
policy number 599-685-689
issuad to QOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.
DISCOVERY AMENDED - BILATERAL - 1, 2, 3 YEAR-PREMIUM CAP

In consideration of the premium charged, it is hereby understood and agreed that the policy
(and any endorsement other than this one amending the DISCOVERY CLAUSE) is hereby
amended to the extent necessary for the policy to provide the following:

7. Updated DISCOVERY/EXTENDED REPORTING: The DISCOVERY CLAUSE is deleted
in its entirety and replaced with the following:

DISCOVERY CLAUSE

Except as indicated below, if the Named Entity shall cancel, or the Named Entity or
the Insurer shal! refuse to renew this policy, the Named Entity shali, conditioned
upon payment of the applicable " Discovery Option Premium” described below, have
the right to a period of one, two or three years following the effective date of such
cancellation or nonrenewal (the " Discovery Period") in which to give to the Insurer
written notice pursuant to Clause 7(a) or 7{c) of the policy of: (i) Claims that retate
solely to a Wrongful Act occurring prior to the end of the Policy Period, that are first
made against an insured during the Discovery Period and that are otherwise covered
by this policy; and {ii) citcumstances that relate solely to a Wrongful Act occurring
prior to the end of the Policy Period, that an Organization or an insured becomes
aware of during the Discovery Period. “ Discovery Option Premium" means any
amount determined by the Insurer in its sole and absolute discretion that: {i) for a
one year Discovery Period, does not exceed 125%; {ii} fora two year Discovery
Period, does not exceed 175%; and (iii) for a three year Discovery Period, does not
exceed 225%, of the total annual premium charged for this policy.

lf " Transaction” is defined and used in the policy, in the event of any such
Transaction the Named Entity shall have the right to request an offer from the
insurer of a Discovery Period (with respect to Wrongful Acts occurring prior to the
effective time of the Transaction). The Insurer shall offer such Discovery Period
pursuant to such terms, conditions, exclusions and additional premium as the
Insurer may reasonably decide. In the event of a Transaction, the right to a
Discovery Period shall not otherwise exist except as indicated in this paragraph.

The Discovery Period is not cancelable and the additional premium charged shall be
fully earned at inception. This Discovery Clause shall not apply to any cancellation
resulting from non-payment of premium. The rights contained in this Discovery
Clause shall terminate unless written notice of election of a Discovery Period
together with any additional premium due is received by the Insurer no later than
thirty (30) days subsequent to the effective date of the cancellation, nonrenewal or
Transaction.

COPY END 13
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ENDORSEMENT# 73 (Cc “nued) |

This endorsement, effective 12:07 am duly 1, 2007 forms a part of

policy number

599-65~69

issued to Q@GWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

2. Definition Conventions: The following administrative provisions address different
definitions in the Insurer's forms to which this endorsement may be applied.

(a} Unless otherwise defined herein, terms appearing in bold typeface are used
in this endorsement with the meanings specifically ascribed to them, if any,
in the policy, whether defined terms appear in boid typeface or are indicated
by some other convention in the particular policy form.

{b) For this endorsement only:

{i}

{ii}

(iii)

" Named Entity" means the first Named Entity, Named Organization,
Named Corporation, Named Sponsor, Named Insured or other
policyholder designated in {tem 1 of the Declarations.

" DISCOVERY CLAUSE" refers to the discovery or extended reporting
provisions of the policy.

* Organization" is used in this endorsement with the meaning
specifically ascribed to it, if any, in the policy. if the policy does
not define * Organization", the term is used in this endorsement
with the meaning specifically ascribed to the term " Company,”
if the policy defines" Company." If the policy does not define
either " Organization" or " Company”, then " Organization" shall have
no meaning or effect in this endorsement and shall be deemed te be
deleted from the Discovery Clause.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 13
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This endorsement, effective 12:07 am July 7, 2007 forms a part of
policy number 599-865-689
issued to DOWWEY FINANCIAL CORP

by

National Union Fire Insurance Company of Pittsburgh, Pa.

INSURED V. INSURED EXCLUSION AMENDED
(WHISTLEBLOWER)

in consideration of the premium charged, it Is hereby understood and agreed that Clause
4. EXCLUSIONS is amended by adding the following subsection (6) to the end of Exclusion

fi):

(8) any Securities Claim, provided that such Securities Claim Is instigated and
continued totally Independent of, and totally without the solicitation of, or
assistance of, or active participation of, or intervention of, any Organization
or any Executive of an Organization; provided, however, solely with respect
to this subsection (6):

{a} an Executive's engaging In any protected activity specified In 18 U.S.C.
T514A(a@) ("whistleblower protection pursuant to the Sarbanes-Oxley Act
of 2002) or any protected activity specified in any other “whistleblower“
Protection pursuant to any similar state, local or foreign securities laws;
shall not be deemed to trigger this exclusion.

Notwithstanding the forgoing exception, this exclusion (i) shall apply where the
actions of any Executive Includes the filing of any proceeding or voluntarily
testifying, voluntarily participating In or voluntarily assisting (other than de minimis
assistance) in the filing or prosecution of any proceeding against an Insured relating
to any violation of any rule or regulation of the Securities and Exchange
Commission or any similar provision of any federal, state, local or foreign rule or
law relating to fraud against shareholders, other than such actions in connection
with a proceeding that Is brought by the Securities and Exchange Commission, any
similar state, local or foreign regulatory body that regulates securities, or any state,
local or foreign law enforcement authority.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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END 014
COPY Page 1 of 1
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f ) ENDORSEMENT# 75

This endorsement, affective 72:07 am duly 1, 2007 forms a part of
policy number 4599-85-69
issued to DOWNEY FINANCIAL CORP

by Hational Union Fire Insurance Company of Pittsburgh, Pa,

INVESTIGATION COSTS FOR DERIVATIVE DEMANDS

In consideration of the premium charged, it is hereby understood and agreed as follows:

1. Clause 1 INSURING AGREEMENTS is amended to add the following new insuring
agreement:

COVERAGE E: INVESTIGATION COSTS FOR DERIVATIVE DEMANDS

This policy shall pay the Investigation Costs of the Organization arising from an
Investigation in response to a Derivative Demand first made upon the Organization
during the Policy Period or the Discovery Period {if applicable) and reported to the
Insurer pursuant to the terms of this policy.

2. Clause 5 LIMIT OF LIABILITY (FOR ALL LOSS-INCLUDING DEFENSE COSTS) is
amended to add the folowing:

The maximum limit of the insurer's liability for Investigation Costs arising from all
Investigations combined occurring during the Policy Period or the Discovery Period
(if applicable), in the aggregate, shall be $150,000, This limit shall be the maximum
limit of the Insurer under this policy regardless of the number of such Investigations
occurring during the Policy Period or the Discovery Period (if applicable), or the
number of Executives subject to such Investigations. Provided, however, that the
investigation Costs limit shall be part of and not in addition to the Limit of Liability
Stated in the Declarations of this policy, which shail, in all events, be the maximum
liability of the Insurer for all Loss under this policy.

3. There shall be no Retention amount applicable to investigation Costs, and the
Insurer shall pay such Loss from first dollar, subject to the other terms, conditions
and limitations of this endorsement and this policy.

4, It shall be the duty of the Organization and not the duty of the Insurer to conduct,
investigate, and evaluate any Investigation against its own Executives, provided
that the Insurer shall be entitled to effectively associate in the Investigation and in
the evaluation and negotiation of any settlement of any such Investigation.

5. Nothing in this endorsement shall be construed to afford coverage under this policy
for any Claim brought by the Organization against one or more of its own
Executives other than investigation Costs incurred in a covered Investigation.
Payment of any Investigation Costs under this policy shalt not waive any of the
insurer's rights under this policy or at law.

6. The Organization shall be entitled to payment of its covered Investigation Costs 90
days after: (i) it has made its final decision not to bring a civil proceeding in a court
of law against any of its Executives, and (ii} such decision has been communicated

COPY END 15
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ENDORSEMENT# 75 (Cr ‘inued)

This endorsement, effective 72:07 am duly 1, 2007 forms a part of
policy number 699-85-69 °
issued to JOWMEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

to the Complaining Shareholders. Such payment shail be subject to an undertaking
by the Organization, in a form acceptable to the Insurer, that the Organization shalt
return to the Insurer such payment in the event any Organization or Complaining
Sharehoklers brings a Claim alleging, arising out of, based upon or attributable to
any Wrongful Acts which were the subject of the Derivative Demand,

7. Solely for the coverage extended by this endorsement under Coverage E, the
following shall apply:

" Claim” shall also mean any Derivative Demand.

"Complaining Shareholder" means any shareholder or shareholders, other than any
Insured, that makes 2 Derivative Demand.

" Derivative Demand" means a written demand by shareholders upon the board of
directors (or equivalent management body} of an Organization asking it to bring, on
behalf of the Organization, a civil proceeding in a court of jaw against any Executive
of the Organization fora Wrongful Act of such Executive in order to obtain relief
from damages arising out of such Wrongful Acts.

" Investigation" means the investigation by the Organization or, on behalf of the
Organization by its board of directors (or the equivalent management body) or any
committee of the board of directors [or the equivalent management body), as to
whether or not the Organization should bring the civil proceeding demanded in the
Derivative Demand.

"Investigation Costs" means reasonable and necessary costs, charges, fees and
expenses {including but not limited to attorney's fees and expert's fees but not
inctuding any settlement, judgment or damages and not including any regular or
overtine wages, salaries or fees of the Executives or Employees of the
Organization) incurred by the Organization or its board of directors (or the equivalent
management bedy) or any committee of the board of directors (or the equivalent
management body), incurred solely in connection with an Investigation.

" Loss" shall also mean Investigation Costs.
ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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AUTHORIZED REPRESENTATIVE
COPY END 15
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ENDORSEMENT# 76

This endorsement, effective 72:07 am duly 1, 2007 forms a part of
policy number §99-65-69
issued to SOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

STATE AMENDATORY INCONSISTENT

In consideration of the premium charged, it is hereby understood and agreed that in the
event that there is an inconsistency between a state amendatory attached to this policy
and any term or condition of this policy, then itis understood and agreed that, where
permitted by law, the Insurer shail apply those terms and conditions of either the
amendatory or the policy which are more favorable to the insured.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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AUTHORIZED REPRESENTATIVE
COPY END 16
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ENDORSEMENT# 77

This endorsement, effective 72:07 am July 1, 2007 forms a part of
policy number §99-65-69
issued to QOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

DOMESTIC PARTNER COVERAGE

In consideration of the premium charged, it is hereby understood and agreed that such
coverage as is afforded by this policy pursuant to Clause 20. SPOUSAL AND LEGAL
REPRESENTATIVE EXTENSION to the lawful spouse of an Insured Person under this policy
shall also extend to any " Domestic Partner" of such Insured Person, whether or not such
person would be deemed a "spouse" under the applicable law.

" Domestic Partner” means any individual person legally recognized as a domestic or civil

union partner under: (1) the provisions of any applicable federal, state, or local Jaw; or {2}
the provisions of any formal program established by the Named Entity or any Subsidiary.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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AUTHORIZED REPRESENTATIVE
COPY END 17
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ENDORSEMENT# 78

This endorsement, effective 12:07 am duly 1, 2007 forms a part of
policy number 599-@5-69

issued to

DOWNEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

SPECIFIED FILINGS 12 MONTHS BACK

In consideration of the premium charged, it is hereby understood and agreed as follows:

The dafinition of " Application” is deleted in its entirety and replaced with the following:

" Application” means as of the inception of the Policy Period:

(7)

(2)

each and every signed application, any attachments to such applications,
any separate written warranty or representation, or other materisis
submitted therewith or incorporated therein and any other documents
submitted in connection with the underwriting of this policy or the
underwriting of any other directors and officers {or equivalent) liability policy
issued by the Insurer or any of its affiliates of which this policy is a renewal,
replacement or which it succeeds in time (other than public filings by or on
behalf of an Organization made with the Securities and Exchange
Commission (SEC): and

each and every public filing by or on behalf of an Organization made with the
SEC including, but not limited to, the Organization's Annual Report(s}, 10Ks,
100s, 8Ks and proxy statements, any financial information in such filings,
and any certifications relating to the accuracy of the foregoing, provided that
such public filing was filad during the period of time:

{i) beginning at the start of the 12 month period immediately preceding
the first submission to the insurer in connection with the underwriting
of this policy; and

{ii} ending at the inception of the Policy Period.

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

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AUTHORIZED REPRESENTATIVE

COPY END 78
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—“ENDORSEMENT# 79

This endorsement, effective 72/07 am duly 1, 2007 forms a part of
policy number 599~§§-89
issued to BOWWEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.
COVERAGE TERRITORY ENDORSEMENT

Payment of loss under this policy shall only be made in fulf compliance with all United
States of America economic or trade sanction laws or regulations, including, but not
limited to, sanctions, laws and regulations administered and enforced by the U.S. Treasury
Department's Office of Foreign Assets Control ("OFAC").

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AUTHORIZED REPRESENTATIVE

END 019
89644 (7/05) COPY Page 1 of 1
Case 08-13041-CSS Doc161-2 Filed 06/08/09 Page 69 of 70

ENDORSEMENT# 20

This endorsement, effective 72:07 am daly 1, 2007 forms a part of
policy number §99-65-69
Issued to DOWNEY FINAVCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

FORMS INDEX ENDORSEMENT

The contents of the Pollcy is comprised of the following farms:

EDITION

FORM NUMBER DATE FORM TITLE

75010 02/00 [DG0200 Admitted - Dec

81285 01/03 |Tria Dee Disclosure Form

75011 02/00 |D002G0 Admitted - Policy

APPMAN 05/07 |SECURITIES CLAIM PANEL COUNSEL LIST (Please see www.briefbase.com
for the current list of panel counse! firms.)

75OTR 02/00 {APPENDIX B CRISISFUND

52133 03/94 | CALIFORNIA AMENDATORY - CANCELLATI ON/NONRENEWAL

90143 72/05 (CALIFORNIA PUNITIVE DAMAGES LAW ENDORSEMENT

89371 05/05 |"NO LIABILITY" PROVISION DELETED (SECURITIES CLAIM RETENTION
APPLIES TO ALL LOSS ARISING OUT OF A SECURITIES CLAIM)

83550 11/03 |NUCLEAR ENERGY LIABILITY EXCLUSION EN@ORSEMENT

83524 11/03 | COMMISSIONS EXCLUSION

83553 11/03 [OUTSIDE ENTITY ENDORSEMENT (STANDARD)

83569 11/03 | PROFESSIONAL ERRORS & OMISSIONS EXCLUSION (WITH SECURITIES CLAIM
CARVE-OUT)

83516 11/03 | CAPTIVE INSURANCE COMPANY EXCLUSION

89385 05/05 |CONDUCT EXCLUSIONS {a}, {b) AND (c) AMENDED - FINAL
DETERMINATION

MNSCPT ALTERNATIVE DISPUTE RESOLUTION PROCESS CLAUSE AMENDATORY
ENDORSEMENT

89640 07/05 |SEVERABILITY TO THE APPLICATION ENDORSEMENT (FULL INDIVIDUAL
SEVERABILITY; TOP 6 ORGANIZATION POSITIONS IMPUTED TO
ORGANIZATION ; AND NON-RESCINDABLE A SIDE COVER)

83591 11/03 |SUBSID{ARY - AUTO-SUBSIDIARY PERCENTAGE DECREASED

ANSCPT DISCOVERY AMENDED ~ BILATERAL - 1, 2, 3 YEAR-PREMIUM CAP

90639 03/06 | INSURED V. INSURED EXCLUSION AMENDED (WHISTLEBLOWER)

78853 (10/01) COPY

END 020
Page 1 of 2
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ENDORSEMENT# 2U

This endorsement, effective 72:07 am duly 1, 2007 forms a part of

policy number

599-65-89

issued to GOHVEY FINANCIAL CORP

by National Union Fire Insurance Company of Pittsburgh, Pa.

FORMS INDEX ENDORSEMENT

The contents of the Policy is comprised of the following forms:

FORM NUMBER

EDITION
DATE

FORM TITLE

MNSCPT
MNSCPT
MNSCPT
MNSCPT
89644
78859

07/05

10/01

INVESTIGATION COSTS FOR DERIVATIVE DEMANDS
STATE AMENDATORY | NCONSISTENT

DOMESTIC PARTNER COVERAGE

SPECIFIED FILINGS 12 MONTHS BACK

COVERAGE TERRITORY ENDORSEMENT {OFAC)

Forms Index Endorsement

ALL OTHER TERMS, CONDITIONS AND EXCLUSIONS REMAIN UNCHANGED.

78859 (10/01)

C2 ipa

AUTHORIZED REPRESENTATIVE

END 020
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